Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 1 of 54




                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                                                      MDL NO. 2924
    PRODUCTS LIABILITY                                                                               20-MD-2924
    LITIGATION
                                                                   JUDGE ROBIN L. ROSENBERG
                                                         MAGISTRATE JUDGE BRUCE E. REINHART

                                                          /

                               ORDER GRANTING GENERIC
                      MANUFACTUERS’ AND REPACKAGERS’ RULE 12
                    MOTION TO DISMISS ON THE GROUND OF PREEMPTION

             This matter is before the Court on Defendants Generic Manufacturers’ (“Generic

    Manufacturer Defendants”) and Repackagers’ (“Repackager Defendants”) (collectively

    “Defendants”) Rule 12 Motion to Dismiss on the Ground of Preemption (“Motion to Dismiss”).

    DE 1582. The Court held a hearing on the Motion to Dismiss on December 15, 2020 (“the

    Hearing”). The Court has carefully considered the Motion to Dismiss, Plaintiffs’ Opposition

    thereto [DE 1978; DE 2010-1],1 Defendants’ Reply [DE 2133], Plaintiffs’ Notice of Supplemental

    Authority [DE 2488], the arguments that the parties made during the Hearing, and the record and

    is otherwise fully advised in the premises. For the reasons set forth below, the Motion to Dismiss

    is GRANTED.




    1
     Plaintiffs filed an Opposition at DE 1978 that contains a redaction and filed an unredacted version of the Opposition
    at DE 2010-1. Citations to the Opposition throughout this Order are to the unredacted version.
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 2 of 54




                                               I. Factual Background 2

             This case concerns the pharmaceutical product Zantac and its generic forms, which are

    widely sold as heartburn and gastric treatments. The molecule in question—ranitidine—is the

    active ingredient in both Zantac and its generic forms.

             Zantac has been sold since the early 1980’s, first by prescription and later as an

    over-the-counter (“OTC”) medication. In 1983, the U.S. Food and Drug Administration (“FDA”)

    approved the sale of prescription Zantac. MPIC ¶¶ 226, 231, 432. GlaxoSmithKline (“GSK”) first

    developed and patented Zantac. Id. ¶ 230. Zantac was a blockbuster – the first prescription drug

    in history to reach $1 billion in sales. Id. ¶ 231.

             GSK entered into a joint venture with Warner-Lambert in 1993 to develop an OTC form

    of Zantac. Id. ¶ 233. Beginning in 1995, the FDA approved the sale of various forms of OTC

    Zantac. Id. ¶¶ 233, 237. The joint venture between GSK and Warner-Lambert ended in 1998, with

    Warner-Lambert retaining control over the sale of OTC Zantac in the United States and GSK

    retaining control over the sale of prescription Zantac in the United States. Id. ¶ 234. Pfizer acquired

    Warner-Lambert in 2000 and took control of the sale of OTC Zantac in the United States. Id. ¶ 235.

    The right to sell OTC Zantac in the United States later passed to Boehringer Ingelheim

    Pharmaceuticals and then to Sanofi. Id. ¶¶ 239-40, 242-44. When the patents on prescription and

    OTC Zantac expired, numerous generic drug manufacturers began to produce generic ranitidine

    products in prescription and OTC forms. Id. ¶¶ 249-51.




    2
     A court must accept a plaintiff’s factual allegations as true at the motion–to–dismiss stage. West v. Warden, 869 F.3d
    1289, 1296 (11th Cir. 2017) (“When considering a motion to dismiss, we accept as true the facts as set forth in the
    complaint and draw all reasonable inferences in the plaintiff’s favor.” (quotation marks omitted)). Plaintiffs have set
    forth their factual allegations in three “master” complaints: the Master Personal Injury Complaint (“MPIC”), the
    Consolidated Consumer Class Action Complaint (“CCCAC”), and the Consolidated Third Party Payor Class
    Complaint (“CTPPCC”) (collectively “Master Complaints”). DE 887, 888, 889.

                                                              2
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 3 of 54




           Scientific studies have demonstrated that ranitidine can transform into a cancer-causing

    molecule called N-nitrosodimethylamine (“NDMA”), which is part of a carcinogenic group of

    compounds called N-nitrosamines. Id. ¶¶ 253, 321, 324, 331. Studies have shown that these

    compounds increase the risk of cancer in humans and animals. Id. ¶¶ 253, 264-72. The FDA, the

    Environmental Protection Agency, and the International Agency for Research on Cancer consider

    NDMA to be a probable human carcinogen. Id. ¶¶ 254, 258. The FDA has set the acceptable daily

    intake level for NDMA at 96 nanograms. Id. ¶¶ 4, 263.

           Valisure LLC and ValisureRX LLC, a pharmacy and testing laboratory, filed a Citizen

    Petition on September 9, 2019, calling for the recall of all ranitidine products due to high levels of

    NDMA in the products. Id. ¶ 285. The FDA issued a statement on September 13 warning that

    some ranitidine products may contain NDMA. Id. ¶ 286. On November 1, the FDA announced

    that testing had revealed the presence of NDMA in ranitidine products. Id. ¶ 296. The FDA

    recommended that drug manufacturers recall ranitidine products with NDMA levels above the

    acceptable daily intake level. Id. Six months later, on April 1, 2020, the FDA requested the

    voluntary withdrawal of all ranitidine products from the market. Id. ¶ 301.

                                       II. Procedural Background

           After the discovery that ranitidine products may contain NDMA, Plaintiffs across the

    country began initiating lawsuits related to their purchase and/or use of the products. On February

    6, 2020, the United States Judicial Panel on Multidistrict Litigation created this multi-district

    litigation (“MDL”) pursuant to 28 U.S.C. § 1407 for all pretrial purposes and ordered federal

    lawsuits for personal injury and economic damages from the purchase and/or use of ranitidine

    products to be transferred to the undersigned. DE 1. Since that time, hundreds of Plaintiffs have

    filed lawsuits in, or had their lawsuits transferred to, the United States District Court for the



                                                      3
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 4 of 54




    Southern District of Florida. In addition, this Court has created a Census Registry where thousands

    of claimants who have not filed lawsuits have registered their claims. See DE 547.

           Plaintiffs filed three Master Complaints on June 22, 2020. DE 887, 888, 889. Plaintiffs

    contend that the ranitidine molecule is unstable, breaks down into NDMA, and has caused

    thousands of consumers of ranitidine products to develop various forms of cancer. MPIC ¶¶ 1, 6,

    19. Plaintiffs allege that “a single pill of ranitidine can contain quantities of NDMA that are

    hundreds of times higher” than the FDA’s allowable limit. Id. ¶ 4. Plaintiffs are pursuing federal

    claims and state claims under the laws of all 50 U.S. states, Puerto Rico, and the District of

    Columbia. See generally CCCAC. The entities named as defendants are alleged to have designed,

    manufactured, tested, marketed, distributed, labeled, packaged, handled, stored, and/or sold

    ranitidine products. MPIC ¶¶ 20, 225.

           The Court has entered numerous Pretrial Orders to assist in the management of this MDL.

    In Pretrial Order # 30, the Court set a case management schedule that is intended to prepare the

    MDL for the filing of Daubert motions on general causation and class certification motions in

    December 2021. DE 875; see generally Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579

    (1993). In Pretrial Order # 36, the Court set a schedule for the filing and briefing of motions to

    dismiss under Federal Rule of Civil Procedure 12 directed to the Master Complaints. DE 1346.

    Defendants filed the instant Motion to Dismiss pursuant to that schedule.

                                      III. The Master Complaints

           Plaintiffs filed three Master Complaints in this MDL: the MPIC, the CCCAC, and the

    CTPPCC. DE 887, 888, 889. The MPIC raises claims against parties referred to as Generic

    Manufacturer Defendants that allegedly manufactured generic ranitidine products. MPIC

    ¶¶ 38-144. The MPIC further raises claims against parties referred to as Repackager Defendants



                                                    4
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 5 of 54




    that allegedly repackaged ranitidine products into different containers and changed “the content

    on an original manufacturer’s label to note the drug [was] distributed or sold under the relabeler’s

    own name,” “without manipulating, changing, or affecting the composition or formulation of the

    drug.” Id. ¶¶ 211-15. Some of the parties categorized as Generic Manufacturer Defendants are

    also categorized as Repackager Defendants. See, e.g., id. ¶¶ 44, 52. The parties named as Generic

    Manufacturer Defendants and as Repackager Defendants are not identical among the Master

    Complaints.

           The MPIC contains 15 counts: Strict Products Liability—Failure to Warn, Strict Products

    Liability—Design Defect, Strict Products Liability—Manufacturing Defect, Negligence—Failure

    to Warn, Negligence Product Design, Negligent Manufacturing, General Negligence, Negligent

    Misrepresentation, Breach of Express Warranties, Breach of Implied Warranties, Violation of

    Consumer Protection and Deceptive Trade Practices Laws, Unjust Enrichment, Loss of

    Consortium, Survival Actions, and Wrongful Death. Each count is brought against Generic

    Manufacturer Defendants.       All of these counts, other than the Strict Products Liability—

    Manufacturing Defect and Negligent Manufacturing counts, are also brought against Repackager

    Defendants.

           The CCCAC also raises claims against parties referred to as Generic Manufacturer

    Defendants and Repackager Defendants. CCCAC ¶¶ 277-357, 416-20. The CCCAC contains

    314 counts on behalf of putative nationwide and state classes. The putative nationwide class

    alleges counts for unjust enrichment, violation of the Magnuson-Moss Warranty Act, 15 U.S.C.

    § 2301, et seq. (“MMWA”), and common law fraud. The putative state classes allege counts for

    negligence, battery, product-liability, breach-of-warranty, consumer-protection, and medical-

    monitoring causes of action.



                                                     5
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 6 of 54




            The CTPPCC raises claims against parties referred to as Generic Manufacturer Defendants.

    CTPPCC ¶¶ 46-121. The CTPPCC contains nine counts on behalf of a putative nationwide class

    of Third Party Payors that allegedly paid for prescription medications for others or, alternatively,

    on behalf of putative state classes. Id. ¶¶ 124, 506, 508. The putative class alleges counts of Breach

    of Express Warranties, Breach of Implied Warranties, Violation of the MMWA, Fraud, Negligent

    Misrepresentation and Omission, Violations of State Consumer Protection Laws, Unjust

    Enrichment, and Negligence. 3

                                   IV. Summary of the Parties’ Arguments

            Defendants argue in the Motion to Dismiss that all of Plaintiffs’ state-law claims against

    them, regardless of how labeled and pled, are claims for design defect or failure to warn. The

    Supreme Court has ruled in two significant opinions—PLIVA, Inc. v. Mensing, 564 U.S. 604

    (2011) and Mutual Pharmaceutical Co. v. Bartlett, 570 U.S. 472 (2013)—that such claims against

    generic drug manufacturers are pre-empted because they cannot remedy design defects or provide

    additional warnings while remaining in compliance with federal law. The Supreme Court’s rulings

    apply with equal force to repackagers. Therefore, all of the state-law claims against Defendants

    must be dismissed. And because Plaintiffs’ only federal claims against Defendants, for violations

    of the MMWA, require a valid state-law warranty claim, the MMWA claims must be dismissed as




    3
      The Master Complaints also raise claims against parties referred to as Brand-Name Manufacturer Defendants,
    Distributor Defendants, and Retailer Defendants. Brand-Name Manufacturer Defendants allegedly manufactured
    brand-name ranitidine products; Distributor Defendants allegedly purchased ranitidine products in bulk and sold them
    to Retailer Defendants; and Retailer Defendants allegedly sold ranitidine products to consumers. In addition to the
    claims described above, the CCCAC and the CTPPCC contain counts for violation of the Racketeer Influenced and
    Corruption Organizations Act, 18 U.S.C. § 1962(c)-(d), against Brand-Name Manufacturer Defendants. Brand-Name
    Manufacturer, Distributor, and Retailer Defendants have also brought motions to dismiss based on pre-emption that
    the Court addresses by separate Orders. The Court refers to Brand-Name Manufacturer Defendants and Generic
    Manufacturer Defendants collectively as “Manufacturer Defendants.” The Court refers to all defendants named in
    this MDL collectively as “named defendants.”

                                                             6
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 7 of 54




    well. Additionally, 21 U.S.C. § 379r prohibits Plaintiffs from obtaining damages in the form of

    refunds for the purchase of OTC ranitidine products.

           Plaintiffs respond that none of their state-law claims against Defendants are pre-empted

    under Mensing and Bartlett. Their claims are not pre-empted because the claims are based on the

    fact that ranitidine products were misbranded when sold and on Defendants’ failure to take actions

    that they could have taken while remaining in compliance with federal law.            In addition,

    Repackager Defendants can be held liable under an absolute-liability theory because they profited

    from the marketing of ranitidine products. And because Plaintiffs’ state-law warranty claims are

    not pre-empted, the MMWA claims are viable as well. Section 379r does not prohibit Plaintiffs

    from obtaining damages in the form of refunds for the purchase of OTC ranitidine products.

                                V.    Summary of the Court’s Rulings

           The design-defect and failure-to-warn claims that the Supreme Court ruled in Mensing and

    Bartlett are pre-empted as against generic drug manufacturers are pre-empted as against

    Defendants, regardless of Plaintiffs’ allegations that ranitidine products were misbranded.

    Plaintiffs’ claims based on alleged product and labeling defects that Defendants could not

    independently change while remaining in compliance with federal law are dismissed with

    prejudice as pre-empted. Because all of Plaintiffs’ counts against Defendants in the Master

    Complaints incorporate such allegations, all counts against Defendants are dismissed. Plaintiffs’

    claims against Repackager Defendants that rely on absolute liability are dismissed with prejudice.

    The Court grants Plaintiffs leave to replead claims based on expiration dates, testing, storage and

    transportation conditions, warning the FDA, manufacturing defects, and the MMWA, as well as

    to replead their derivative counts. The Court will address § 379r in a forthcoming Order on




                                                    7
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 8 of 54




    Branded Defendants’ Rule 12 Partial Motion to Dismiss Plaintiffs’ Three Complaints as

    Preempted by Federal Law.

                                              VI. Standard of Review

               Defendants move to dismiss all of the claims against them under Federal Rule of Civil

    Procedure 12(b)(6) based on the affirmative defense of federal pre-emption. See DE 1582 at 8;4

    DE 2499 at 37; see also Mensing, 564 U.S. at 619 (describing federal pre-emption as a drug

    manufacturer’s affirmative defense). A court may grant a motion to dismiss a pleading if the

    pleading fails to state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). A court

    ruling on a motion to dismiss accepts the well-pled factual allegations as true and views the facts

    in the light most favorable to the plaintiff. Jones v. Fransen, 857 F.3d 843, 850 (11th Cir. 2017).

    But the court need not accept legal conclusions couched as factual allegations. Diverse Power, Inc.

    v. City of LaGrange, Ga., 934 F.3d 1270, 1273 (11th Cir. 2019). “Under Rule 12(b)(6), dismissal

    is proper when, on the basis of a dispositive issue of law, no construction of the factual allegations

    will support the cause of action.” Allen v. USAA Cas. Ins. Co., 790 F.3d 1274, 1278 (11th Cir.

    2015) (quotation marks omitted). A “complaint may be dismissed under Rule 12(b)(6) when its

    own allegations indicate the existence of an affirmative defense, so long as the defense clearly

    appears on the face of the complaint.” Quiller v. Barclays Am./Credit, Inc., 727 F.2d 1067, 1069

    (11th Cir. 1984), aff’d en banc, 764 F.2d 1400 (11th Cir. 1985).

                                                     VII. Analysis

               An understanding of the law that applies to drugs approved by the FDA is necessary to

    understand the arguments that the parties make in briefing the Motion to Dismiss. Before turning

    to the parties’ arguments, the Court discusses key statutes and regulations that govern the FDA’s



    4
        All page number references herein are to the page numbers generated by CM/ECF in the header of each document.

                                                             8
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 9 of 54




    regulation of drugs. The Court next addresses impossibility pre-emption and significant cases that

    have addressed impossibility pre-emption in the drug context. The Court then turns to the issues

    raised in the briefing: misbranding, expiration dates and testing, storage and transportation

    conditions, warning the FDA, manufacturing defects, the MMWA, absolute liability, derivative

    counts, and express pre-emption under 21 U.S.C. § 379r. For each issue, the Court reviews the

    arguments of the parties, any relevant allegations in the Master Complaints, and any additional,

    issue-specific law before providing the Court’s analysis and conclusion on the issue.

    A. Federal Regulation of Drug Products

           The FDA regulates prescription and OTC drugs under the Federal Food, Drug, and

    Cosmetic Act, as amended, 21 U.S.C. § 301 et seq. (“FDCA”). The FDCA provides a process for

    the FDA to approve a new drug through a new drug application (“NDA”) and a process for the

    FDA to approve a drug that is the same as a previously approved drug through an abbreviated new

    drug application (“ANDA”). See 21 U.S.C. § 355. A drug must have an FDA-approved NDA or

    ANDA to be introduced into interstate commerce. Id. § 355(a).

       1. NDAs

           An NDA must contain scientific data and other information showing that the new drug is

    safe and effective and must include proposed labeling. See id. § 355(b)(1). The FDCA defines the

    term “labeling” as “all labels and other written, printed, or graphic matter (1) upon any article or

    any of its containers or wrappers, or (2) accompanying such article.” Id. § 321(m). The FDA may

    approve the NDA only if it finds, among other things, that the new drug is “safe for use under the

    conditions prescribed, recommended, or suggested in the proposed labeling”; that there is

    “substantial evidence that the drug will have the effect it purports or is represented to have . . . in

    the proposed labeling”; that the methods and facilities for manufacturing, processing, and



                                                      9
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 10 of 54




    packaging the drug are adequate “to preserve its identity, strength, quality, and purity”; and that

    the labeling is not “false or misleading in any particular.” Id. § 355(d). A drug approved under the

    NDA process, commonly referred to as a “brand-name drug,” is “listed” by the FDA as having

    been “approved for safety and effectiveness.” See id. § 355(j)(7). Following the approval of its

    NDA, a brand-name drug has a certain period of exclusivity in the marketplace. See id.

    § 355(j)(5)(F).

       2. ANDAs

           Subject to that period of exclusivity, a drug manufacturer may seek the approval of a drug

    that is identical in key respects to a listed drug by filing an ANDA. See id. § 355(j); Bartlett,

    570 U.S. at 477 (explaining that a generic drug may be approved through the ANDA process

    “provided the generic drug is identical to the already-approved brand-name drug in several key

    respects”). A drug approved under the ANDA process is commonly referred to as a “generic

    drug.” The ANDA must contain information showing that the generic drug has the same active

    ingredient(s), route of administration, dosage form, strength, therapeutic effect, and labeling as the

    listed drug and is “bioequivalent” to the listed drug. 21 U.S.C. § 355(j)(2)(A). With limited

    exceptions, the FDA may approve the ANDA only if it finds that the generic drug and its proposed

    labeling are the same as the listed drug and the listed drug’s labeling. See id. § 355(j)(4); see also

    21 C.F.R. § 314.94(a)(8)(iii), (iv) (“Labeling (including the container label, package insert, and, if

    applicable, Medication Guide) proposed for the drug product must be the same as the labeling

    approved for the reference listed drug . . . .”). One such exception is that the generic drug’s

    proposed labeling “may include differences in expiration date” from the listed drug. 21 C.F.R.

    § 314.94(a)(8)(iv).




                                                     10
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 11 of 54




       3. Changes to Drugs with Approved NDAs and ANDAs

           The FDA also has requirements for when and how a drug manufacturer may change a drug

    or drug labeling that has an approved NDA or ANDA. See id. §§ 314.70, .97(a).                   These

    requirements differ depending on the category of change that the manufacturer seeks to make.

           A “major change” is

           any change in the drug substance, drug product, production process, quality
           controls, equipment, or facilities that has a substantial potential to have an adverse
           effect on the identity, strength, quality, purity, or potency of the drug product as
           these factors may relate to the safety or effectiveness of the drug product.

    Id. § 314.70(b)(1). Such changes include certain labeling changes, changes “in the qualitative or

    quantitative formulation of the drug product, including inactive ingredients,” and changes “in the

    synthesis or manufacture of the drug substance that may affect the impurity profile and/or the

    physical, chemical, or biological properties of the drug substance.” Id. § 314.70(b)(2)(i), (iv), (v).

    A major change requires a “supplement submission and [FDA] approval prior to distribution of

    the product made using the change.” Id. § 314.70(b). This supplement is referred to as a “Prior

    Approval Supplement.” See In re Darvocet, Darvon, & Propoxyphene Prods. Liab. Litig.,

    756 F.3d 917, 923 (6th Cir. 2014).

           A “moderate change” is

           any change in the drug substance, drug product, production process, quality
           controls, equipment, or facilities that has a moderate potential to have an adverse
           effect on the identity, strength, quality, purity, or potency of the drug product as
           these factors may relate to the safety or effectiveness of the drug product.

    21 C.F.R. § 314.70(c)(1). The process for making a moderate change is commonly called the

    “changes-being-effected” process or “CBE” process. See Mensing, 564 U.S. at 614. A moderate

    change generally requires a “supplement submission at least 30 days prior to distribution of the

    drug product made using the change.” 21 C.F.R. § 314.70(c). The drug product with the change



                                                     11
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 12 of 54




    may be distributed prior to FDA-approval, but only after the passage of 30 days from the FDA’s

    receipt of the supplement. Id. § 314.70(c)(4). This supplement is referred to as a “Changes Being

    Effected in 30 Days” supplement. See id. § 314.70(c)(3).

            However, the FDA may designate certain moderate changes that may be made upon the

    FDA’s receipt of the supplement and need not await the passage of 30 days. Id. § 314.70(c)(6).

    Such changes include certain changes “in the labeling to reflect newly acquired information” and

    “changes in the methods or controls to provide increased assurance that the drug substance or drug

    product will have the characteristics of identity, strength, quality, purity, or potency that it purports

    or is represented to possess.” Id. § 314.70(c)(6)(i), (iii). Where the passage of 30 days is not

    required, the supplement is referred to as a “Changes Being Effected” supplement.

    Id. § 314.70(c)(3).

            Finally, a “minor change” is a change “in the drug substance, drug product, production

    process, quality controls, equipment, or facilities that ha[s] a minimal potential to have an adverse

    effect on the identity, strength, quality, purity, or potency of the drug product as these factors may

    relate to the safety or effectiveness of the drug product.” Id. § 314.70(d)(1). Such a change

    includes an “extension of an expiration dating period based upon full shelf life data on production

    batches obtained from” an approved protocol. Id. § 314.70(d)(2)(vi). A minor change must be

    “described in an annual report.” Id. § 314.70(d).

            Despite the availability of these processes to make changes, “generic drug manufacturers

    have an ongoing federal duty of ‘sameness’” that requires “that the warning labels of a brand-name

    drug and its generic copy must always be the same.” Mensing, 564 U.S. at 613; see also 21 C.F.R.

    § 314.150(b)(10) (explaining that approval for an ANDA may be withdrawn if the FDA finds that

    the drug product’s labeling “is no longer consistent with that for the listed drug”). Thus, the CBE



                                                       12
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 13 of 54




    process allows “changes to generic drug labels only when a generic drug manufacturer changes its

    label to match an updated brand-name label or to follow the FDA’s instructions.” Mensing,

    564 U.S. at 614.

    B. Impossibility Pre-emption

              The Supremacy Clause of the U.S. Constitution provides that the laws of the United States

    “shall be the supreme Law of the Land . . . any Thing in the Constitution or Laws of any State to

    the Contrary notwithstanding.” U.S. Const. art. VI, cl. 2. “It is basic to this constitutional command

    that all conflicting state provisions be without effect.” Maryland v. Louisiana, 451 U.S. 725, 746

    (1981) (citing McCulloch v. Maryland, 17 U.S. 316, 427 (1819)). The pre-emption doctrine is

    derived from the Supremacy Clause. Gade v. Nat’l Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 108

    (1992).

              Supreme Court caselaw has recognized that state law is pre-empted under the Supremacy

    Clause in three circumstances. English v. Gen. Elec. Co., 496 U.S. 72, 78 (1990). First, “Congress

    can define explicitly the extent to which its enactments pre-empt state law.” Id. Second, “state law

    is pre-empted where it regulates conduct in a field that Congress intended the Federal Government

    to occupy exclusively.” Id. at 79. Third, state law is pre-empted “to the extent that it actually

    conflicts with federal law . . . where it is impossible for a private party to comply with both state

    and federal requirements, or where state law stands as an obstacle to the accomplishment and

    execution of the full purposes and objectives of Congress.” Id. (citation and quotation marks

    omitted). Three key Supreme Court opinions have addressed impossibility pre-emption—a subset

    of conflict pre-emption—in the drug context.




                                                     13
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 14 of 54




       1. Wyeth v. Levine

           In Wyeth v. Levine, a consumer of a brand-name drug sued the brand-name drug

    manufacturer on negligence and strict-liability theories under Vermont law for failure to provide

    an adequate warning on the drug’s labeling. 555 U.S. 555, 559-60 (2009). The Supreme Court

    held that the consumer’s labeling claims were not pre-empted because the CBE process permitted

    the brand-name drug manufacturer to “unilaterally strengthen” the warning on the labeling,

    without waiting for FDA approval. Id. at 568-69, 571, 573. The Court stated that it could not

    conclude that it was impossible for the brand-name drug manufacturer to comply with both its

    federal-law and state-law duties “absent clear evidence that the FDA would not have approved” a

    labeling change. Id. at 571. The brand-name drug manufacturer “offered no such evidence,” and

    the fact that the FDA had previously approved the labeling did “not establish that it would have

    prohibited such a change.” Id. at 572-73.

       2. PLIVA, Inc. v. Mensing

           In PLIVA, Inc. v. Mensing, consumers of generic drugs sued the generic drug manufacturers

    under Minnesota and Louisiana tort law for failure to provide adequate warnings on the drugs’

    labeling. 564 U.S. at 610. The Supreme Court held that the consumers’ labeling claims were

    pre-empted because the generic drug manufacturers could not “independently” change the labeling

    while remaining in compliance with federal law. Id. at 618-20, 623-24. The generic drug

    manufacturers’ “duty of ‘sameness’” under federal law required them to use labeling identical to

    the labeling of the equivalent brand-name drug. Id. at 613. Thus, the CBE process was unavailable

    to the generic drug manufacturers to change labeling absent a change to the brand-name drug’s

    labeling. Id. at 614-15. Because any change that the generic drug manufacturers made to the drugs’




                                                   14
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 15 of 54




    labeling to comply with duties arising under state tort law would have violated federal law, the

    state tort claims were pre-empted. Id. at 618, 623-24.

            The consumers argued, and the FDA asserted in an amicus brief, that even if the generic

    drug manufacturers could not have used the CBE process to change the labeling, the manufacturers

    could have “asked the FDA for help” by proposing a labeling change to the FDA. Id. at 616, 619.

    The consumers further argued that their state-law claims would not be pre-empted unless the

    generic drug manufacturers demonstrated that the FDA would have rejected a proposed labeling

    change. Id. at 620. The generic drug manufacturers conceded that they could have asked the FDA

    for help. Id. at 619.

            The Supreme Court rejected the argument that the ability to ask the FDA for help defeated

    impossibility pre-emption. Id. at 620-21. The Court stated that the “question for ‘impossibility’ is

    whether the private party could independently do under federal law what state law requires of it.”

    Id. at 620 (citing Wyeth, 555 U.S. at 573). “[W]hen a party cannot satisfy its state duties without

    the Federal Government’s special permission and assistance, which is dependent on the exercise

    of judgment by a federal agency, that party cannot independently satisfy those state duties for

    pre-emption purposes.” Id. at 623-24. Asking the FDA for help “would have started a Mouse Trap

    game” that eventually may have led to a labeling change, “depending on the actions of the FDA

    and the brand-name manufacturer.” Id. at 619-20. But, the Court stated, pre-emption analysis that

    was dependent on what a third party or the federal government might do would render

    impossibility pre-emption “all but meaningless.” Id. at 620-21 (“If these conjectures suffice to

    prevent federal and state law from conflicting for Supremacy Clause purposes, it is unclear when,

    outside of express pre-emption, the Supremacy Clause would have any force.”).




                                                    15
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 16 of 54




       3. Mutual Pharmaceutical Co. v. Bartlett

           In Mutual Pharmaceutical Co. v. Bartlett, a consumer of a generic drug brought a

    design-defect claim under New Hampshire law against a generic drug manufacturer for failure to

    ensure that the drug was reasonably safe. 570 U.S. at 475. Under New Hampshire law, a drug

    manufacturer could satisfy its duty to ensure that its drug was reasonably safe “either by changing

    a drug’s design or by changing its labeling.” Id. at 482, 492. However, because the generic drug

    manufacturer was unable to change the drug’s composition “as a matter of both federal law and

    basic chemistry,” the only way for the manufacturer to fulfill its state-law duty and “escape

    liability” was by changing the labeling. Id. at 475, 483-84 (citing 21 U.S.C. § 355(j) for the

    proposition that “the FDCA requires a generic drug to have the same active ingredients, route of

    administration, dosage form, strength, and labeling as the brand-name drug on which it is based”).

    The Supreme Court concluded that, under Mensing, federal law prohibited the generic drug

    manufacturer “from taking the remedial action required to avoid liability” under state law, that is,

    changing the labeling, and therefore the consumer’s design-defect claim was pre-empted. Id. at

    475, 486-87 (citing Mensing, 564 U.S. 604).

           The First Circuit Court of Appeals had ruled that the generic drug manufacturer could

    comply with both federal and state law by removing the drug from the market. Id. at 475, 479.

    The Supreme Court stated that this was “no solution” because adopting this “stop-selling rationale

    would render impossibility pre-emption a dead letter and work a revolution in th[e] Court’s

    pre-emption case law.” Id. at 475, 488-90 (rejecting the stop-selling rationale as “incompatible”

    with pre-emption jurisprudence because, in “every instance in which the Court has found

    impossibility pre-emption, the ‘direct conflict’ between federal- and state-law duties could easily

    have been avoided if the regulated actor had simply ceased acting”). Pre-emption caselaw



                                                    16
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 17 of 54




    “presume[s] that an actor seeking to satisfy both his federal- and state-law obligations is not

    required to cease acting altogether in order to avoid liability.” Id. at 488.

       4. Application of Mensing and Bartlett

           Based on the Mensing and Bartlett opinions, federal courts have held that numerous

    categories of claims against generic drug manufacturers are pre-empted, even where plaintiffs do

    not couch their claims as design defect or failure to warn. For example, courts have held that

    claims against generic drug manufacturers for failure to communicate information to consumers

    or medical providers, where the manufacturers of the listed brand-name drugs have not done so,

    are pre-empted. See, e.g., In re Darvocet, 756 F.3d at 932-33 (concluding that a claim that generic

    drug manufacturers should have sent letters explaining safety risks to medical providers was

    pre-empted because, “if generic drug manufacturers, but not the brand-name manufacturer, sent

    such letters, that would inaccurately imply a therapeutic difference between the brand and generic

    drugs and thus could be impermissibly misleading” (quotation marks omitted)); Lashley v. Pfizer,

    Inc., 750 F.3d 470, 474-75 (5th Cir. 2014) (concluding that a claim that generic drug manufacturers

    should have communicated information consistent with the brand-name drug labeling was

    pre-empted because “the duty of sameness prohibits the generic manufacturers from taking such

    action unilaterally, they are dependent on brand-names taking the lead” (quotation omitted));

    Morris v. PLIVA, Inc., 713 F.3d 774, 777 (5th Cir. 2013) (concluding that a claim that generic drug

    manufacturers should have communicated that a labeling change had been made was pre-empted

    because the manufacturers “were not at liberty” to communicate such information where “no

    brand-name manufacturer sent a warning based on the . . . label change”).

           Courts similarly have held that claims against generic drug manufacturers for failure to

    conduct testing of their drug products are pre-empted. See, e.g., Drager v. PLIVA USA, Inc.,



                                                      17
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 18 of 54




    741 F.3d 470, 476-77 (4th Cir. 2014) (concluding that a claim that a generic drug manufacturer

    was negligent in the “testing, inspection, and post-market surveillance” of its drug product was

    pre-empted because any duty to perform such acts fell within the “general duty to protect

    consumers from injury based on the negligent marketing and sale of a product,” and the

    manufacturer “whose product is unreasonably dangerous as sold could not satisfy that [general]

    duty without changing its warnings, changing its formulation, exiting the market, or accepting tort

    liability”); Morris, 713 F.3d at 778 (concluding that a claim that generic drug manufacturers failed

    to test and inspect their products was pre-empted, in part, because “any ‘useful’ reporting [of

    testing results]—at least from the standpoint of those injured—would ostensibly consist of some

    sort of warning,” which the manufacturer could not give).

           Courts also have held that claims against generic drug manufacturers for misrepresentation,

    fraud, and violation of consumer-protection statutes are pre-empted. See, e.g., In re Darvocet,

    756 F.3d at 935-36 (concluding that fraud, misrepresentation, and consumer-protection claims

    against generic manufacturers were pre-empted because the claims “all challenge[d] label

    content,” the plaintiffs did “not identify any representations made other than those contained in

    the FDA-approved labeling,” and the manufacturers “could not have corrected any alleged

    misrepresentation without violating federal law because they were required to conform their

    labeling to that of the brand-name drugs”); Eckhardt v. Qualitest Pharms., Inc., 751 F.3d 674, 680

    (5th Cir. 2014) (concluding that consumer-protection claims against generic manufacturers were

    pre-empted because the claims were based on allegations that the manufacturers failed to

    sufficiently warn consumers, and federal law forbade the manufacturers from making any changes

    to their FDA-approved warnings); Drager, 741 F.3d at 479 (concluding that negligent

    misrepresentation and fraudulent concealment claims against a generic drug manufacturer were



                                                    18
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 19 of 54




    pre-empted because they were premised on the content of the labeling, the manufacturer had “no

    authority to add or remove information from its materials or to change the formulation of the

    product to make its representations complete or truthful,” and the manufacturer’s “only remaining

    options [were] to leave the market or accept tort liability”).

           As one final example, courts have held that claims against generic drug manufacturers for

    breaches of express and implied warranties are pre-empted. See, e.g., Schrock v. Wyeth, Inc.,

    727 F.3d 1273, 1288 (10th Cir. 2013) (concluding that an express-warranty claim against a generic

    drug manufacturer was pre-empted because the plaintiffs did not identify a mechanism through

    which the manufacturer “could have modified or supplemented the warranties allegedly breached

    without running afoul of the duty of sameness” and that claims for breach of the implied warranties

    of merchantability and fitness for intended use were pre-empted because the manufacturer “could

    not have altered the composition of the [drug] it manufactured without violating federal law”);

    Drager, 741 F.3d at 478-79 (concluding that claims that a generic drug manufacturer had breached

    an express warranty and the implied warranties of merchantability and fitness for a particular

    purpose were pre-empted because the manufacturer could not have changed its warnings or drug

    formulation to comply with the warranties and therefore could avoid liability only by leaving the

    market).

    C. Issues

           Defendants contend in their Motion to Dismiss that, under Mensing and Bartlett, all of the

    claims against them in each of the Master Complaints are pre-empted and must be dismissed.

    DE 1582 at 8, 10, 16, 27-42. They assert that, even where Plaintiffs have “creatively pled” their

    claims by calling them something other than design defect or failure to warn, all of the claims are

    pre-empted design or labeling defect claims “[a]t their core.” Id. at 8, 22-26, 28. Plaintiffs maintain



                                                      19
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 20 of 54




    that none of their claims are pre-empted. See generally DE 2010-1. The Court now turns to the

    parties’ arguments about specific issues and claims.

       1. Misbranding

           a. Arguments and Allegations

           Plaintiffs assert that their claims against Defendants are not pre-empted because they are

    “parallel to federal misbranding requirements.” Id. at 32. They incorporate by reference the

    arguments that they make about misbranding in their Opposition to Brand-Name Defendants’

    Rule 12 Partial Motion to Dismiss on Preemption Grounds. Id.; see DE 1976. In that Opposition,

    Plaintiffs argue that they have alleged in the Master Complaints that ranitidine products were

    “misbranded” as that term is defined in 21 U.S.C. § 352(a)(1) and (j). DE 1976 at 20-21, 24. The

    U.S. Code prohibits the introduction of misbranded drugs into interstate commerce. Id. at 11, 21.

    And state laws prohibit the sale of defectively designed drugs. Id. at 21. Therefore, because federal

    law and state laws prohibit the same action, the sale of drugs that are misbranded and dangerous,

    there is no conflict between federal and state law and no impossibility in complying with both

    federal and state law. Id. at 17, 21-23.

           Defendants reply that no other court has recognized Plaintiffs’ misbranding argument and

    that the argument is actually a stop-selling argument, which the Supreme Court rejected in Bartlett.

    DE 2133 at 15-16. If Plaintiffs’ misbranding argument were accepted, any plaintiff in a drug case

    could avoid pre-emption simply by adding misbranding allegations to the complaint. Id. at 12-13.

    Defendants also incorporate by reference the arguments relating to misbranding in Brand-Name

    Manufacturer Defendants’ Reply Brief in Support of Their Rule 12 Partial Motion to Dismiss

    Plaintiffs’ Three Complaints as Preempted by Federal Law. Id. at 15; see DE 2134. In that Reply,

    Brand-Name Manufacturer Defendants add that Plaintiffs have not brought any cause of action



                                                     20
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 21 of 54




    titled “misbranding” in the Master Complaints and that Plaintiffs mention misbranding in only a

    few causes of action. DE 2134 at 17. Plaintiffs misunderstand the meaning of the federal

    misbranding statute because a drug product is misbranded only if it fails to contain the

    FDA-approved labeling. Id. at 17-18.

           Plaintiffs allege in each Master Complaint that ranitidine products were misbranded

    because the named defendants “did not disclose NDMA as an ingredient” in the products, “did not

    disclose the proper directions for storage” of the products, and “did not disclose the proper

    directions for expiration” of the products. MPIC ¶¶ 421-23; CCCAC ¶¶ 601-03; CTPPCC

    ¶¶ 338-40. During the Hearing, Plaintiffs clarified that they assert that ranitidine products were

    misbranded as that term is defined in 21 U.S.C. § 352(a)(1) and (j). DE 2499 at 146.

           b. Federal Statutes on Misbranding

           The U.S. Code prohibits the “introduction or delivery for introduction into interstate

    commerce of any . . . drug . . . that is adulterated or misbranded,” the “adulteration or misbranding

    of any . . . drug . . . in interstate commerce,” the “receipt in interstate commerce of any . . . drug

    . . . that is adulterated or misbranded,” and the “manufacture within any Territory of any . . . drug

    . . . that is adulterated or misbranded.” 21 U.S.C. § 331(a)-(c), (g). Plaintiffs do not have a private

    cause of action to enforce this statute. Id. § 337(a) (providing that “all such proceedings for the

    enforcement, or to restrain violations, of this chapter shall be by and in the name of the United

    States”); Ellis v. C.R. Bard, Inc., 311 F.3d 1272, 1284 n.10 (11th Cir. 2002) (explaining that “no

    private right of action exists for a violation of the FDCA”). Section 352 of the U.S. Code contains

    several sub-sections delineating the circumstances under which a drug “shall be deemed to be

    misbranded.” 21 U.S.C. § 352. As relevant here, a drug is misbranded if “its labeling is false or

    misleading in any particular” or if “it is dangerous to health when used in the dosage or manner,



                                                      21
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 22 of 54




    or with the frequency or duration prescribed, recommended, or suggested in the labeling thereof.”

    Id. § 352(a)(1), (j).

             c. Misbranding and PLIVA, Inc. v. Mensing

             When Mensing was pending before the Supreme Court, the United States, in an amicus

    brief on behalf of the FDA, argued that a drug’s labeling must be revised to include a warning “as

    soon as there is reasonable evidence of an association of a serious hazard with a drug.” 5 Brief for

    the United States as Amicus Curiae Supporting Respondents at 6, 12, PLIVA, Inc. v. Mensing,

    564 U.S. 604 (2011) (Nos. 09-933, 09-1039, 09-1501), 2011 WL 741927 (quotation marks

    omitted). The FDA maintained that, after such evidence is discovered, a drug that lacks an

    adequate warning is misbranded. Id. at 6, 12-13, 23-24 (citing 21 U.S.C. § 352). The FDA

    recognized that generic drug manufacturers cannot “unilaterally” change drug labeling so as to

    prevent their drugs from being misbranded. Id. at 12, 15-17 (citing 21 U.S.C. § 355(j)(4)(G) and

    21 C.F.R. § 314.94(a)(8)(iii)). But the FDA asserted that generic drug manufacturers have “a duty

    under federal law” to provide the evidence they discover to the FDA and to propose a labeling

    change to the FDA, for the FDA to then determine whether the labeling should be changed. Id. at

    12, 14-15, 20. According to the FDA, when a generic drug manufacturer did not fulfill that duty

    under federal law, a state claim against the manufacturer for failure to warn would not be

    pre-empted. Id. at 14, 30.

             In its opinion in Mensing, the Supreme Court recognized the FDA’s arguments concerning

    misbranding and, for the purpose of the opinion, assumed that a duty might exist even under federal



    5
      This language is derived from 21 C.F.R. § 201.57, which has been amended to read that “labeling must be revised
    to include a warning about a clinically significant hazard as soon as there is reasonable evidence of a causal association
    with a drug.” 21 C.F.R. § 201.57(c)(6)(i); see Requirements on Content and Format of Labeling for Human
    Prescription Drug and Biological Products, 71 Fed. Rev. 3922-01, 3990 (Jan. 24, 2006) (to be codified at 21 C.F.R.
    § 201.57). The language cited in the amicus brief, however, continues to apply to “older drugs,” meaning drugs for
    which the FDA approved an NDA before June 30, 2001. See 21 C.F.R. §§ 201.56(b)(1)(i), .80(e).

                                                               22
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 23 of 54




    law for a generic drug manufacturer to take action if its drug product is misbranded. See 564 U.S.

    at 616-17 (“Because we ultimately find pre-emption even assuming such a duty existed, we do not

    resolve the matter.”). That, however, did not end the inquiry for the purpose of analyzing federal

    pre-emption. See id. at 617 (“We turn now to the question of pre-emption.”). On the issue of

    impossibility pre-emption, the Court concluded that the consumers’ failure-to-warn claims were

    pre-empted because the generic drug manufacturers could not “independently” change their

    labeling under federal law and because pre-emption analysis could not depend on what a third

    party or the federal government might do. Id. at 618-21, 623-24 (“The question for ‘impossibility’

    is whether the private party could independently do under federal law what state law requires of

    it.”). The Court rejected the FDA’s premise in its amicus brief that state-law claims are not

    pre-empted if a drug is misbranded and the drug’s manufacturer fails to act. Cf. id. at 613 n.3

    (noting that, while a court defers to an agency’s interpretation of its own regulations, a court does

    not defer to an agency’s ultimate conclusion about whether state law is pre-empted).

           The Eighth Circuit Court of Appeals below had determined that a failure-to-warn claim

    was not pre-empted both because a generic drug manufacturer can propose a labeling change to

    the FDA and because the manufacturer has the option of withdrawing an insufficiently labeled

    product from the market. Mensing v. Wyeth, Inc., 588 F.3d 603, 608-11 (8th Cir. 2009) (“The

    generic defendants were not compelled to market metoclopramide. If they realized their label was

    insufficient but did not believe they could even propose a label change, they could have simply

    stopped selling the product.”), rev'd sub nom. PLIVA, Inc. v. Mensing, 564 U.S. 604 (2011). While

    the Supreme Court did not explicitly address this stop-selling argument in its Mensing opinion, the

    Court implicitly rejected the argument by holding that the consumers’ failure-to-warn claims were




                                                     23
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 24 of 54




    pre-empted. See Bartlett, 570 U.S. at 488-90 (discussing Mensing’s rejection of the stop-selling

    argument).

           Following the Supreme Court’s opinion in Mensing, federal courts presented with claims

    that generic drug manufacturers had distributed misbranded drugs rejected such claims as

    pre-empted under Mensing. See, e.g., Gardley-Starks v. Pfizer, Inc., 917 F. Supp. 2d 597, 607

    (N.D. Miss. 2013) (explaining, where a plaintiff asserted that Mensing did not apply to a claim that

    a manufacturer had distributed a misbranded drug, that “no matter how Plaintiff styles her theories

    of recovery, her claims ultimately relate to the Generic Defendants’ alleged failure to warn about

    the side effect of metoclopramide”); Moretti v. PLIVA, Inc., No. 2:08-CV-00396-JCM, 2012 WL

    628502, at *2, 5 (D. Nev. Feb. 27, 2012) (rejecting a plaintiff’s argument that Mensing did not

    foreclose liability based on a generic drug manufacturer continuing to distribute a misbranded

    drug), aff’d sub nom. Moretti v. Wyeth, Inc., 579 F. App’x 563 (9th Cir. 2014); Moretti v. Mutual

    Pharm. Co., 852 F Supp. 2d 1114, 1118 (D. Minn. 2012) (stating that the court was “not

    persuaded” by a plaintiff’s attempt to differentiate her misbranding claim from the types of claims

    addressed in Mensing and that, “[d]espite the different ‘labels’ given these claims, the essence of

    these claims is that . . . Defendants failed to warn of material safety information concerning

    metoclopramide”), aff’d, 518 F. App’x 486 (8th Cir. 2013); Metz v. Wyeth, LLC, No. 8:10-CV-

    2658-T-27AEP, 2011 WL 50 24448, at *4 (M.D. Fla. Oct. 20, 2011) (dismissing plaintiffs’ claim

    that a generic drug was misbranded because the claim fell “directly within the scope of Mensing

    because it [was] based on Actavis’ purported failure to provide an adequate label and package

    insert for metoclopramide”).




                                                    24
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 25 of 54




           d. Misbranding and Mutual Pharmaceutical Co. v. Bartlett

           When Bartlett was pending before the Supreme Court, the United States, in an amicus brief

    on behalf of the FDA, argued that a “pure” design-defect claim under state law that was based on

    “new and scientifically significant evidence” not previously before the FDA could “parallel” the

    federal misbranding statute and might not be pre-empted. Brief for the United States as Amicus

    Curiae Supporting Petitioner at 12, 20-24, Mut. Pharm. Co. v. Bartlett, 570 U.S. 472 (2013)

    (No. 12-142), 2013 WL 314460 (calling this a “difficult and close” question). The FDA’s position

    was that a “defective-design claim would lie only if based on significant new evidence that

    triggered a duty under federal law not to market a misbranded drug.” Id. at 23, 32 (explaining that

    a state-law duty not to market a misbranded drug “would not conflict with federal law if it

    appropriately accounted for the FDA’s role under the FDCA”). The FDA defined a “pure”

    design-defect claim as a claim that did “not consider the adequacy of labeling.” Id. at 12. The

    FDA opined that the Supreme Court did not need to reach this issue because the New Hampshire

    law at issue in the case did not recognize “pure” design-defect claims and because the jury below

    had not been asked to find “new and scientifically significant evidence.” Id. at 16-17, 20-21, 24.

           In its opinion in Bartlett, the Supreme Court did “not address state design-defect claims

    that parallel the federal misbranding statute” because the misbranding statute was “not applicable,”

    as “the jury was not asked to find whether new evidence concerning sulindac that had not been

    made available to the FDA rendered sulindac so dangerous as to be misbranded.” See 570 U.S. at

    487 n.4 (stating that the “parties and the Government appear to agree that a drug is misbranded

    under federal law only when liability is based on new and scientifically significant information

    that was not before the FDA”). The Court also rejected the rationale that a drug manufacturer

    could comply with conflicting state and federal law by stopping selling an unsafe drug. Id. at 475,



                                                    25
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 26 of 54




    488 (“Our pre-emption cases presume that an actor seeking to satisfy both his federal- and

    state-law obligations is not required to cease acting altogether in order to avoid liability.”). The

    Court explained that it had rebuffed this stop-selling rationale in Mensing. Id. at 489-90 (“In

    concluding that it was impossible for the Manufacturers to comply with both their state-law duty

    to change the label and their federal law duty to keep the label the same, the Court was undeterred

    by the prospect that PLIVA could have complied with both state and federal requirements by

    simply leaving the market.” (citation and quotation marks omitted)).

           Following the Supreme Court’s opinion in Bartlett, some federal courts have been

    presented with misbranding claims against drug manufacturers and have rejected the claims either

    because the law of the state at issue did not recognize a “pure” design-defect claim or because the

    misbranding claim was not based on new and scientifically significant evidence that was not before

    the FDA. See Yates v. Ortho-McNeil-Janssen Pharms., Inc., 808 F.3d 281, 299 n.3 (6th Cir. 2015)

    (concluding that a plaintiff could not “stave off preemption” by mentioning misbranding where

    she had not cited any new and scientifically significant evidence not before the FDA); In re

    Darvocet, 756 F.3d at 929-30 (explaining that the plaintiffs failed to identify a state claim that had

    elements identical to a federal misbranding claim and failed to point to new and scientifically

    significant evidence that the generic drug manufacturers possessed that was not before the FDA);

    Schrock, 727 F.3d at 1290 (stating that the plaintiffs had not advanced a misbranding claim that

    was based on new and scientifically significant information not before the FDA); In re Yasmin and

    Yaz (Drospirenone) Mktg., Sales Pracs. & Prods. Liab. Litig., No. 3:09-md-02100-DRH-PMF,

    2015 WL 7272766, at *4 (S.D. Ill. Nov. 18, 2015) (determining that the plaintiff could not “assert

    a ‘pure’ design defect claim under Illinois law”). However, none of these cases have ruled on the

    issue that the Supreme Court declined to address in Bartlett: whether a claim based on an allegation



                                                     26
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 27 of 54




    that a drug was misbranded escapes pre-emption if the claim is brought under the law of a state

    that recognizes a “pure” design-defect claim and is based on new and scientifically significant

    evidence not before the FDA. See, e.g., In re Darvocet, 756 F.3d at 929 (declining to resolve the

    “possibly thorny issue” of whether a misbranding claim creates an exception to impossibility

    pre-emption because the plaintiffs “failed to plead such a claim”); see also Bartlett, 570 U.S. at

    487 n.4.

             e. Analysis and Conclusion

             No court has adopted Plaintiffs’ theory that impossibility pre-emption can be avoided by

    showing that a drug is misbranded. Mensing and Bartlett dictate that Plaintiffs’ claims are

    pre-empted if they are based on alleged product defects that Defendants could not independently

    change while remaining in compliance with federal law, even if those defects rendered the products

    misbranded. Mensing and Bartlett further instruct that the ability to comply with both federal and

    state law by withdrawing misbranded ranitidine products from the market does not defeat

    pre-emption. A claim based on an allegation that a generic drug’s labeling renders the drug

    misbranded is a pre-empted claim because the drug’s manufacturer cannot independently and

    lawfully change FDA-approved labeling.6 See Mensing, 564 U.S. at 618-21. Likewise, a claim

    based on an allegation that a generic drug’s formulation renders the drug misbranded is a

    pre-empted claim because the drug’s manufacturer cannot independently and lawfully change a

    drug formulation that the FDA has approved. See Bartlett, 570 U.S. at 483-84 (citing 21 U.S.C.

    § 355(j)).



    6
      The Court takes no position as to whether state-law claims would be pre-empted where a drug product was
    misbranded because it did not contain the FDA-approved labeling. Plaintiffs have not alleged or argued that any
    ranitidine products did not contain the FDA-approved labeling. A circuit split exists on the issue of whether a claim
    based on failure to use FDA-approved labeling is pre-empted. See Wagner v. Teva Pharms. USA, Inc., 840 F.3d 355,
    359-60 & n.1 (7th Cir. 2016) (noting this split of authority between the Fifth and Sixth Circuits and declining to take
    a position, citing Morris, 713 F.3d 774 and Fulgenzi v. PLIVA, Inc., 711 F.3d 578 (6th Cir. 2013)).

                                                             27
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 28 of 54




           The fact that federal law imposes criminal liability on a drug manufacturer that introduces

    a misbranded drug into interstate commerce is of no matter. See 21 U.S.C. §§ 331(a)-(c), (g), 333

    (providing penalties for misbranding crimes). It does not follow that, because a drug manufacturer

    that introduces a misbranded drug into interstate commerce is subject to criminal liability, a civil

    remedy must also be available. There is no private cause of action to enforce the federal

    misbranding statutes. See id. § 337(a); Ellis, 311 F.3d at 1284 n.10.

           A finding that Plaintiffs can avoid pre-emption by alleging that defects in ranitidine

    products made the products misbranded under 21 U.S.C. § 352 would render the vast body of

    pre-emption caselaw in the drug context, including binding Supreme Court decisions, meaningless.

    If Plaintiffs’ position were accepted, a plaintiff could avoid pre-emption simply by asserting, for

    example, that a drug’s labeling was “false or misleading in any particular” or that the drug was

    “dangerous to health when used” as prescribed. See 21 U.S.C. § 352(a)(1), (j). The Court cannot

    adopt a position that would render pre-emption caselaw meaningless. Cf. Bartlett, 570 U.S. at

    488-90 (rejecting the stop-selling rationale because it was “incompatible with our pre-emption

    jurisprudence,” would mean that the vast majority or all “of the cases in which the Court has found

    impossibility pre-emption, were wrongly decided,” and would make impossibility pre-emption “all

    but meaningless” (quotation marks omitted)); Mensing, 564 U.S. 620-21 (rejecting the proposition

    that pre-emption analysis could be dependent on what a third party or the federal government

    might do because such a position would “render conflict pre-emption largely meaningless”).

           Thus, Plaintiffs’ claims based on alleged defects in ranitidine products, product labeling,

    or other communications that Generic Manufacturer Defendants could not independently change

    while remaining in compliance with federal law are pre-empted. This includes, but is not limited

    to, claims based on allegations that ranitidine products were defectively designed because they



                                                    28
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 29 of 54




    break down into NDMA and claims based on failure to warn consumers that the products contained

    NDMA or could break down into NDMA when ingested. See, e.g., MPIC ¶¶ 461, 478, 508, 522,

    551, 566, 579, 593, 617, 630; see also 21 U.S.C. § 355(j)(2)(A) (requiring generic drug products

    to have the same active ingredient(s), route of administration, dosage form, strength, therapeutic

    effect, and labeling as the listed drug and be bioequivalent to the listed drug). The Court finds it

    unnecessary to identify every allegation in the 7,236 numbered paragraphs in the Master

    Complaints involving an action that Generic Manufacturer Defendants could not independently

    and lawfully take. The Court places confidence in the ability of Plaintiffs’ counsel to, in good

    faith, identify these allegations and to omit them from claims against Generic Manufacturer

    Defendants upon repleading the Master Complaints.

           Plaintiffs do not contend that Repackager Defendants could lawfully make product or

    labeling changes that Generic Manufacturer Defendants could not lawfully make. The same

    pre-empted claims against Generic Manufacturer Defendants are likewise pre-empted as against

    Repackager Defendants.

           Finally, Brand-Name Manufacturer Defendants assert in their Reply Brief in Support of

    Their Rule 12 Partial Motion to Dismiss Plaintiffs’ Three Complaints as Preempted by Federal

    Law (which Defendants incorporate by reference) and argued during the Hearing that a drug

    product is misbranded only if it fails to contain the FDA-approved labeling. DE 2134 at 17-18;

    DE 2499 at 126, 130; see DE 2133 at 15. Defendants and Brand-Name Manufacturer Defendants

    have not pointed to any authority providing that definition of misbranding. The statute delineating

    when a drug is misbranded does not contain the definition that Defendants and Brand-Name

    Manufacturer Defendants propose. See 21 U.S.C. § 352. Nor is it apparent that the FDA defines

    misbranding in such a way, as the FDA maintained in its amicus brief in Bartlett that a drug may



                                                    29
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 30 of 54




    be misbranded if new and scientifically significant information concerning the drug’s safety comes

    to light. See Brief for the United States as Amicus Curiae Supporting Petitioner at 21-22, Mut.

    Pharm. Co. v. Bartlett, 570 U.S. 472 (2013) (No. 12-142), 2013 WL 314460 (citing 21 U.S.C.

    § 352(j)).

             The Court does not resolve this issue. For the purpose of this Order, the Court assumes,

    without finding, that Plaintiffs have adequately alleged that ranitidine products were misbranded.

    The Court nevertheless concludes that Plaintiffs’ allegations of misbranding have no bearing on

    the holdings of Mensing and Bartlett.

             Plaintiffs’ claims based on alleged product and labeling defects that Defendants could not

    independently change while remaining in compliance with federal law are dismissed with

    prejudice as pre-empted. Because all of Plaintiffs’ counts against Defendants in the Master

    Complaints incorporate such allegations, all counts against Defendants are dismissed.

        2. Expiration Dates and Testing

             a. Arguments and Allegations

             Plaintiffs contend that there was at least one piece of information on the packaging of

    ranitidine products that Defendants could change without FDA pre-approval, that is, the

    expirations dates for the products.7 DE 2010-1 at 13-18. Under federal law, an expiration date for

    a generic product need not be the same as the expiration date for the listed brand-name drug.

    Id. at 12, 16-18, 20, 26-27. Defendants could and should have shortened the expiration dates for

    ranitidine products because the products did not remain “stable” through the expiration dates on


    7
     Plaintiffs cite to evidence outside of the Master Complaints to support this point. DE 2010-1 at 27-28. The Court
    disregards this evidence for the purpose of ruling on the Motion to Dismiss. See Bickley v. Caremark RX, Inc., 461 F.3d
    1325, 1329 n.7 (11th Cir. 2006) (stating that a court considering a motion to dismiss under Federal Rule of Civil
    Procedure 12(b)(6) “generally is limited to reviewing what is within the four corners of the complaint,” but may
    consider documents referred to in the complaint if those documents are central to the plaintiff’s claim); see also Fed.
    R. Civ. P. 12(d) (requiring a motion to dismiss under Rule 12(b)(6) to be treated as a motion for summary judgment
    under Rule 56 if “matters outside the pleadings are presented to and not excluded by the court”).

                                                             30
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 31 of 54




    the packaging and developed higher levels of NDMA as time passed. Id. at 25-26. Defendants

    could have known that expiration dates for ranitidine products should have been shorter had they

    conducted adequate testing of their products. Id. at 11-13, 21, 26. Thus, Plaintiffs can pursue

    state-law claims that are based on failure to warn that ranitidine products had expired and failure

    to test the products to learn of their expiration. Id. at 9, 20, 22-23.

            Defendants, citing to some of the same cases that the Court cites in Section VII.B.4. of this

    Order, argue that federal courts have ruled that claims against generic drug manufacturers for

    failure to conduct testing of their drug products are pre-empted. DE 1582 at 25-26, 37; DE 2133

    at 7, 17-19; see, e.g., Drager, 741 F.3d at 476-77; Morris, 713 F.3d at 778. Plaintiffs’ allegations

    and arguments about shortening expiration dates are “fundamentally inconsistent” with other

    allegations in the Master Complaints and are “irrelevant” because “Plaintiffs’ claims are grounded

    in the theory that the labeling was deficient because it did not warn of the risk of cancer or the

    presence of NDMA, that there is no safe level of NDMA, and that all ranitidine medications

    contain elevated levels of NDMA.” DE 2133 at 7, 19-21.

            Plaintiffs allege in the MPIC that stability testing of a drug determines the appropriate

    expiration date for the drug and that continued stability testing verifies that the expiration date

    remains appropriate. MPIC ¶¶ 371, 373. Stability testing that the FDA conducted “revealed

    NDMA levels were higher as [ranitidine] products approached their expiration dates” and “raised

    concerns that NDMA levels in some ranitidine-containing products stored at room temperature

    can increase with time to unacceptable levels.” Id. ¶¶ 302, 407. This testing “eroded the [FDA’s]

    confidence that any ranitidine-containing product could remain stable through its labeled

    expiration date,” and therefore the FDA “withdrew the products from the market.” Id. ¶ 302. The

    named defendants “did not conduct adequate stability testing of their product to ascertain . . .



                                                       31
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 32 of 54




    expiration” and did not communicate appropriate expiration dates. Id. ¶¶ 467, 481(e), (j), 552. The

    named defendants could have provided appropriate expiration dates and had a duty to provide

    appropriate expiration dates. Id. ¶¶ 457, 486. The named defendants would have known of the

    danger that ranitidine products posed had they properly tested the products. Id. ¶¶ 460, 507.

    Alternatively, Plaintiffs allege that the named defendants did test ranitidine products and did know

    of the danger that the products posed, but nevertheless continued to market the products.

    Id. ¶¶ 450-51, 454, 460, 507, 556(t). Plaintiffs make similar allegations in the CCCAC and the

    CTPPCC.

           b. Federal Regulations on Expiration Dates and Testing

           “There shall be a written testing program designed to assess the stability characteristics of

    drug products. The results of such stability testing shall be used in determining appropriate storage

    conditions and expiration dates.” 21 C.F.R. § 211.166(a). “To assure that a drug product meets

    applicable standards of identity, strength, quality, and purity at the time of use, it shall bear an

    expiration date determined by appropriate stability testing . . . .” Id. § 211.137(a). “Expiration

    dates shall be related to any storage conditions stated on the labeling . . . .” Id. § 211.137(b). The

    expiration date on the proposed labeling included in an ANDA for a generic drug need not be the

    same as the expiration date for the listed drug. Id. § 314.94(a)(8)(iv).

           According to FDA guidance that the parties cite, a “[r]eduction of an expiration dating

    period to provide increased assurance of the identity, strength, quality, purity, or potency of the

    drug product” is a moderate change that may be made through the CBE process. U.S. Department

    of Health and Human Services, Food and Drug Administration, Center for Drug Evaluation and

    Research, Guidance for Industry: Changes to an Approved NDA or ANDA (April 2004),




                                                     32
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 33 of 54




    https://www.fda.gov/media/71846/download. 8 None of the parties have pointed to any case where

    a claim based on failure to shorten the expiration date for a drug has been presented to a court.

            c. Analysis and Conclusion

            The Supreme Court explained in Wyeth v. Levine that a failure-to-warn claim is not

    pre-empted if a drug manufacturer has the ability to change drug labeling through the CBE process

    without waiting for FDA approval, unless there is evidence that the FDA would reject the change.

    555 U.S. at 568-73. Therefore, if it is accepted that the expiration date for a generic drug need not

    be the same as for the listed brand-name drug, and if it is accepted that a generic drug manufacturer

    can shorten the expiration dates on its drug products through the CBE process without FDA

    pre-approval, then Plaintiffs might be able to bring claims based on the expiration dates for

    ranitidine products that are not pre-empted.

            However, the Master Complaints do not state claims based on expiration dates and testing

    upon which relief can be granted. First, Plaintiffs have not pled any counts in the Master

    Complaints that are devoted to expiration dates or to testing. Plaintiffs instead incorporate their

    allegations about expiration dates and testing, along with all of their other allegations, into every

    one of their counts.

            Second, Plaintiffs have not identified in the Master Complaints the state-law duty or duties

    for each of the 52 jurisdictions that they maintain Defendants did not fulfill when they did not

    shorten expiration dates for ranitidine products. By the Court’s understanding, Plaintiffs raise their

    allegations concerning expiration dates under the duty to warn, the duty to test, or both. See, e.g.,

    MPIC ¶¶ 467, 481(j), 552. Some states recognize negligent testing as a tort that is independent of


    8
      The parties agree that the Court may take judicial notice of this FDA guidance manual and consider it at the
    motion-to-dismiss stage. DE 2499 at 38-39; see Gustavsen v. Alcon Lab’ys, Inc., 272 F. Supp. 3d 241, 252-53
    (D. Mass. 2017) (explaining that it is proper for courts to take judicial notice of public documents such as material
    appearing on government websites, and considering material on the FDA’s website on a motion to dismiss).

                                                            33
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 34 of 54




    design-defect, manufacturing-defect, and failure-to-warn claims, while other states do not.

    Compare Atkinson v. Luitpold Pharms., Inc., 448 F. Supp. 3d 441, 453-54 (E.D. Pa. 2020) (citing

    Texas caselaw for the proposition that “in Texas there is an independent cause of action based on

    negligent failure to test”), with Kociemba v. G.D. Searle & Co., 707 F. Supp. 1517, 1527 (D. Minn.

    1989) (concluding that, under Minnesota law, a manufacturer’s duty to inspect and test its products

    is subsumed within the duties to safely design, safely manufacture, and adequately warn).

    Plaintiffs have not identified in the Master Complaints which duties under which states’ laws apply

    to Generic Manufacturer Defendants, Repackager Defendants, or both.

           Third, Plaintiffs have not brought their state-law claims in the MPIC and the CTPPCC in

    separate counts by jurisdiction. Instead, each count in the MPIC and the CTPPCC that raises a

    state-law claim is brought under the laws of many or all of the 52 jurisdictions—50 states, Puerto

    Rico, and the District of Columbia—at issue in this MDL. To provide needed clarity as to their

    allegations, upon repleading Plaintiffs should bring all claims arising under separate states’ laws

    in separate counts in each of the Master Complaints. See Fed. R. Civ. P. 10(b) (“If doing so would

    promote clarity, each claim founded on a separate transaction or occurrence . . . must be stated in

    a separate count or defense.”).

           As Defendants point out, Plaintiffs’ allegations that expiration dates for ranitidine products

    should have been shortened because the products became dangerous over time are inconsistent

    with their allegations that the products were dangerous upon being manufactured. See, e.g., MPIC

    ¶¶ 345, 476 (alleging that ranitidine products were “inherently dangerous” “[a]t all relevant times”

    and that testing has revealed that the products contain “elevated levels of NDMA” after two

    weeks). Pleading in the alternative is permissible. Fed. R. Civ. P. 8(d)(2) (“A party may set out

    2 or more statements of a claim or defense alternatively or hypothetically, either in a single count



                                                    34
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 35 of 54




    or defense or in separate ones.”); Adinolfe v. United Techs. Corp., 768 F.3d 1161, 1175 (11th Cir.

    2014) (“It is a well-settled rule of federal procedure that plaintiffs may assert alternative and

    contradictory theories of liability.”). However, a party may not plead internally inconsistent facts

    within a count. See Campos v. Immigr. & Naturalization Serv., 32 F. Supp. 2d 1337, 1343

    (S.D. Fla. 1998) (explaining that a court need not accept internally inconsistent factual allegations

    in a complaint); see also Joseph v. Chronister, No. 8:16-cv-274-T-35CPT, 2019 WL 8014507, at

    *9 (M.D. Fla. Jan. 3, 2019) (determining that a plaintiff permissibly pled in the alternative where

    his inconsistent factual allegations were pled in separate counts); McMahon v. City of Riviera

    Beach, No. 08-80499-CIV, 2008 WL 4108051, at *3 (S.D. Fla. Aug. 28, 2008) (concluding that a

    plaintiff’s incorporation of inconsistent factual allegations within counts was “fatal” to the counts).

    Plaintiffs’ incorporation of inconsistent factual allegations into their counts is improper.

           Finally, the Court addresses an issue raised during the Hearing. Plaintiffs asserted that

    “preemption applies only to the extent of the difference between state and Federal responsibilities.”

    DE 2499 at 26-27. Plaintiffs explained that, if “a state cause of action creates duties A, B, and C,

    and Federal law makes it impossible to comply with duty C,” then a plaintiff “can still plead and

    prove her case based on either . . . a breach of duty A, or a breach of duty B,” and there “is only

    preemption to the extent of the difference.” Id. at 27. To support their assertion, Plaintiffs pointed

    to statements in Supreme Court opinions such as Reigel v. Medtronic, Inc., Bates v. Dow

    Agrosciences LLC, and Medtronic, Inc v. Lohr. See Reigel v. Medtronic, Inc., 552 U.S. 312, 330

    (2008) (“State requirements are pre-empted under [21 U.S.C. § 360k(a) of the Medical Device

    Amendments of 1976] only to the extent that they are different from or in addition to the

    requirements imposed by federal law.” (quotation marks omitted)); Bates v. Dow Agrosciences

    LLC, 544 U.S. 431, 453 (2005) (remanding for a lower court to determine whether a provision of



                                                      35
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 36 of 54




    the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. § 136v(b), expressly

    pre-empted Texas fraud and failure-to-warn claims and stating that, “were the Court of Appeals to

    determine that the element of falsity in Texas’ common-law definition of fraud imposed a broader

    obligation than FIFRA’s requirement that labels not contain ‘false or misleading statements,’ that

    state-law cause of action would be pre-empted by § 136v(b) to the extent of that difference”);

    Medtronic, Inc. v. Lohr, 518 U.S. 470, 495 (1996) (explaining that “additional elements” of a

    state-law cause of action that “make the state requirements narrower, not broader, than the federal

    requirement” do not necessarily render the cause of action different from federal law and expressly

    pre-empted under 21 U.S.C. § 360k(a) of the Medical Device Amendments of 1976).

           Reigel, Bates, and Lohr did not address impossibility pre-emption. In each case, the

    Supreme Court examined a statutory provision that expressly pre-empted state law that was

    “different from” federal law, and therefore state law was pre-empted only to the extent of its

    difference from federal law. See 7 U.S.C. § 136v(b) (“Such State shall not impose or continue in

    effect any requirements for labeling or packaging in addition to or different from those required

    under this subchapter.”); 21 U.S.C. § 360k(a) (providing that “no State or political subdivision of

    a State may establish or continue in effect with respect to a device intended for human use any

    requirement . . . which is different from, or in addition to, any requirement applicable under this

    chapter to the device”); see also English, 496 U.S. at 78 (explaining that express pre-emption exists

    when Congress “define[s] explicitly the extent to which its enactments pre-empt state law”).

           During the Hearing, the parties agreed that impossibility pre-emption exists when state law

    imposes a duty or obligation on a party to do something, but federal law prevents the party from

    doing it. DE 2499 at 38. “The question for ‘impossibility’ is whether the private party could

    independently do under federal law what state law requires of it.” Mensing, 564 U.S. at 618, 620



                                                     36
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 37 of 54




    (finding impossibility where it “was not lawful under federal law for the Manufacturers to do what

    state law required of them”); see also English, 496 U.S. at 79 (explaining that impossibility

    pre-emption exists when “it is impossible for a private party to comply with both state and federal

    requirements”). If a defendant cannot, independently and while remaining in compliance with

    federal law, do what needs to be done to avoid liability under a state cause of action, the cause of

    action is pre-empted. See Bartlett, 570 U.S. at 486-87 (concluding that a state-law design-defect

    claim was pre-empted because federal law prohibited the generic drug manufacturer “from taking

    the remedial action required to avoid liability” under state law). Upon any repleading, Plaintiffs

    should consider, as to each cause of action, the elements under each state’s law and what state law

    would require of Defendants to avoid liability.

           For the reasons given herein, Plaintiffs’ claims based on allegations that Defendants should

    have shortened the expiration dates on ranitidine products or should have conducted testing of the

    products are dismissed without prejudice and with leave to amend.

       3. Storage and Transportation Conditions

           a. Arguments and Allegations

           Defendants contend that any claims that they should have placed different storage and

    transportation information on ranitidine product labeling or “implemented” different storage and

    transportation conditions for the products are pre-empted. DE 1582 at 29, 36. This is so because

    Defendants could not independently and lawfully change FDA-approved labeling, including any

    storage and transportation information on labeling, and because they were bound to comply with

    the storage and transportation instructions on labeling. Id. at 29, 36.

           Plaintiffs respond that they “do not accept” Defendants’ assertion that they could not

    lawfully change storage and transportation information listed on the labeling for ranitidine



                                                      37
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 38 of 54




    products. DE 2010-1 at 39. At this stage of the litigation, the Court must accept as true Plaintiffs’

    allegations that Defendants could have changed storage and transportation information on the

    labeling and could have learned of the appropriate storage and transportation information through

    stability testing. Id. at 23, 39.

            Plaintiffs allege in the MPIC that adequate stability testing of ranitidine products would

    have revealed the appropriate storage and transportation conditions for the products, including the

    appropriate conditions relating to temperature and exposure to light. MPIC ¶¶ 371, 407, 481(j),

    556(g). The named defendants failed to conduct adequate stability testing of ranitidine products.

    Id. ¶¶ 481(j), 523(e), 556(g). Ranitidine products contained “false and misleading” storage and

    transportation information on the labeling, and the named defendants did not attempt to correct

    that information or to add the proper storage and transportation information. Id. ¶¶ 383, 385, 388,

    414, 422, 481(g). The named defendants had a duty to communicate appropriate storage and

    transportation information for ranitidine products, and they breached that duty. Id. ¶¶ 414, 457. In

    addition, the Manufacturer Defendants failed to “implement appropriate handling instructions and

    storage conditions” for ranitidine products. Id. ¶¶ 496(e), 536(e).        Plaintiffs make similar

    allegations in the CCCAC and the CTPPCC.

            b. Relevant Federal Law

            As already explained, an ANDA must contain information showing that the generic drug

    has the same labeling as the labeling approved for the listed drug. 21 U.S.C. § 355(j)(2)(A)(v),

    (4)(G); see also 21 C.F.R. § 314.94(a)(8)(iv). According to FDA guidance, a “[c]hange in the

    labeled storage conditions, unless exempted by regulation or guidance” is a major change that

    requires the submission of a Prior Approval Supplement and FDA approval. U.S. Department of

    Health and Human Services, Food and Drug Administration, Center for Drug Evaluation and



                                                     38
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 39 of 54




    Research, Guidance for Industry: Changes to an Approved NDA or ANDA (April 2004),

    https://www.fda.gov/media/71846/download. Claims that are based on alleged labeling defects

    that a defendant could not independently change while remaining in compliance with federal law

    are pre-empted. Mensing, 564 U.S. at 618-21, 623-24.

           c. Analysis and Conclusion

           The Court is not aware of any authority standing for the proposition that storage and

    transportation information on FDA-approved labeling for a generic drug is treated differently than

    other labeling information that must match what the FDA has approved for the listed brand-name

    drug. For example, the Court knows of no authority providing that the FDA may approve proposed

    labeling in an ANDA if it adds, omits, or contains different storage and transportation information

    from the FDA-approved brand-name labeling. The Court similarly is not aware of any authority

    providing that generic drug manufacturers or repackagers can change storage and transportation

    information on labeling without FDA pre-approval while remaining in compliance with federal

    law. In addition, Plaintiffs acknowledged during the Hearing that “changing the storage and

    transport conditions to the extent that it could impact the identity, quality, and purity profile of the

    drug and pose risk to the ultimate consumer would constitute a major change.” DE 2499 at 46.

           Because claims based on labeling defects that a defendant cannot independently change

    while remaining in compliance with federal law are pre-empted, Plaintiffs’ claims based on

    allegations that Defendants should have placed different or additional storage and transportation

    information on their ranitidine products’ labeling are dismissed with prejudice as pre-empted. In

    addition, Plaintiffs claims based on allegations that Defendants should have conducted better

    testing of ranitidine products to enable them to provide the appropriate storage and transportation

    information on labeling are dismissed with prejudice as pre-empted. See, e.g., Morris, 713 F.3d at



                                                      39
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 40 of 54




    778 (concluding that a claim that generic drug manufacturers failed to test and inspect their

    products was pre-empted because the manufacturers could not have used the testing results to

    independently make a change to the products); Metz v. Wyeth, LLC, 872 F. Supp. 2d 1335, 1342

    (M.D. Fla. 2012) (concluding that a claim that a generic drug manufacturer failed to conduct

    adequate testing was pre-empted under Mensing because, even if the manufacturer had conducted

    adequate testing, it could not have independently furnished the testing results to consumers or the

    medical community).

           During the Hearing, Plaintiffs clarified that, by pleading that Defendants failed to

    “implement appropriate handling instructions and storage conditions” for ranitidine products,

    Plaintiffs meant that “Defendants kept [r]anitidine products under the wrong conditions within

    their own facilities.” DE 2499 at 46; see also MPIC ¶¶ 496(e), 536(e). Plaintiffs asserted that they

    have plausibly pled that Defendants, as well as other named defendants, did not adhere to the

    proper storage and transportation conditions for ranitidine products. DE 2499 at 46, 51, 78, 114-15.

    Plaintiffs pointed to their allegations in paragraphs 407, 409, and 457 of the MPIC. Id. at 114-15.

    They acknowledged that they do not know what actions any named defendant took that resulted in

    ranitidine products being kept under the incorrect conditions, but Plaintiffs asserted that they

    should be permitted to learn this information through discovery. Id. at 50-51, 77, 114-15, 119

           The Court declines to determine at this juncture whether a state-law claim for failure to

    store ranitidine products under the correct conditions is pre-empted. This is because, to the extent

    that it is Plaintiffs’ intent to hold Defendants liable for storing ranitidine products under the wrong

    conditions, such a theory is not pled. Paragraphs 407, 409, and 457 of the MPIC do not allege that

    Defendants stored ranitidine products under the wrong conditions. See MPIC ¶¶ 407, 409, 457.

    The paragraphs certainly do not plead specific facts such as the identification of which named



                                                      40
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 41 of 54




    defendants kept ranitidine products under the wrong conditions or of how the conditions under

    which any products were kept differed from what Plaintiffs maintain were the proper storage

    conditions. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007) (requiring a complaint

    to provide sufficient factual allegations to “state a claim to relief that is plausible on its face” and

    to “raise a right to relief above the speculative level”); see also Ashcroft v. Iqbal, 556 U.S. 662,

    678 (2009) (stating that a complaint must offer more than labels, conclusory statements, and naked

    assertions devoid of factual enhancement to plead a claim upon which relief can be granted).

           To the extent that Plaintiffs, upon repleading, maintain that Defendants stored ranitidine

    products as provided on the labeling but still stored them under the wrong conditions, Plaintiffs

    should be prepared to explain how Defendants can be found liable for storing the products in

    accordance with the labeling. Plaintiffs should be prepared to provide the factual and legal basis

    for a proposition that, if FDA-approved labeling permits a party to store a drug under certain

    conditions, a state may nonetheless impose liability for storing the drug under those conditions.

    To the extent that Plaintiffs maintain that individual Defendants stored ranitidine products under

    different conditions than those listed on the labeling, Plaintiffs should be prepared to explain how

    that is an issue for an MDL (which is designed to adjudicate common questions of fact and law)

    and not an individualized and fact-specific issue. See Order Granting Retailer and Pharmacy

    Defendants’ Rule 12 Motion to Dismiss on the Ground of Preemption, Granting Distributor

    Defendants’ Rule 12 Motion to Dismiss on the Ground of Preemption, Denying as Moot Retailer

    and Pharmacy Defendants’ Rule 12 Motion to Dismiss on State Law Grounds, and Denying as

    Moot Distributor Defendants’ Rule 12 Motion to Dismiss on Various Group-Specific Grounds.




                                                      41
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 42 of 54




       4. Warning the FDA

           a. Arguments

           Plaintiffs contend that the laws of “a wide swath of states” require drug manufacturers to

    warn the FDA of potential hazards. DE 2010-1 at 9, 20, 28-29. In those states, the failure of a drug

    manufacturer to do so is a breach of a duty owed to drug consumers. Id. at 31, 36-37. And federal

    law allows or even requires drug manufacturers to warn the FDA of potential hazards. Id. at 9, 20.

    Consequently, warning the FDA is not impossible, and state claims based on Defendants’ failure

    to warn the FDA of hazards are not pre-empted. Id. at 30. Defendants reply that the Supreme

    Court in Mensing rejected the consumers’ theory based on failure to ask the FDA for help, and

    therefore the Court ruled that claims based on failure to warn the FDA are pre-empted. DE 2133

    at 6, 13-15.

           b. Caselaw on Warning the FDA

           In Mensing, the consumers brought state-law claims for failure to provide adequate

    warnings on drugs’ labeling. 564 U.S. at 610. The consumers denied that their claims were based

    on the generic drug manufacturers’ failure to ask the FDA for assistance in changing drug labeling.

    Id. at 619. The Supreme Court, applying Minnesota and Louisiana law, explained that “[s]tate law

    demanded a safer label; it did not instruct the [generic drug manufacturers] to communicate with

    the FDA about the possibility of a safer label” and concluded that “asking for the FDA’s help”

    was “not a matter of state-law concern.” Id. at 619, 624.

           In Buckman Co. v. Plaintiffs’ Legal Committee, the Supreme Court ruled that the plaintiffs’

    claims that a company had made fraudulent representations to the FDA during the approval process

    for a medical device were pre-empted because the federal regulatory scheme tasks the FDA with

    detecting, deterring, and punishing fraud on the FDA. 531 U.S. 341, 343, 348 (2001) (holding that



                                                    42
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 43 of 54




    “the plaintiffs’ state-law fraud-on-the-FDA claims conflict with, and are therefore impliedly

    pre-empted by, federal law”). The Court reasoned that permitting state law to also police fraud on

    the FDA would create “conflict with the FDA’s responsibility to police fraud consistently with the

    Administration’s judgment and objectives.” Id. at 350, 353 (explaining that “this sort of [state]

    litigation would exert an extraneous pull on the scheme established by Congress”); see also

    English, 496 U.S. at 79 (explaining that state law is pre-empted when it “stands as an obstacle to

    the accomplishment and execution of the full purposes and objectives of Congress” (quotation

    marks omitted)).

           The Eleventh Circuit Court of Appeals relied on Buckman in Tsavaris v. Pfizer, Inc., where

    a plaintiff sought to bring a claim that a drug manufacturer had breached its duty under federal law

    to notify the FDA of scientific studies connecting the use of a drug to the development of cancer.

    717 F. App’x 874, 876 (11th Cir. 2017). The court determined that such a claim was pre-empted

    because the plaintiff was not attempting to enforce a duty of care owed to her, but rather to enforce

    a federal reporting duty owed to the FDA. Id. at 877. “Preemption occurs when the federal

    government has exclusive power to punish an individual or entity for a violation of a federal statute

    or regulation.” Id. (citing Buckman, 531 U.S. at 348).

           c. Analysis and Conclusion

           According to Plaintiffs, Buckman and Tsavaris are distinguishable because Plaintiffs are

    asserting a duty owed to consumers under state law, not a duty owed to the FDA or fraud on the

    FDA; and Mensing did not address this claim because the consumers brought their claims for

    failure to adequately label, not for failure to warn the FDA, and the states at issue did not recognize

    claims for failure to warn the FDA. DE 2010-1 at 30, 34-37. The Court declines to determine at

    this juncture whether a state-law claim for failure to warn the FDA, where the duty at issue is one



                                                      43
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 44 of 54




    that is owed to consumers, is pre-empted. This is because Plaintiffs have not pled any claims for

    failure to warn the FDA. During the Hearing, when asked where in the Master Complaints they

    raised claims of failure to warn the FDA, Plaintiffs pointed generally to their failure-to-warn

    counts, such as Counts I and IV of the MPIC. DE 2499 at 60-61. But those counts do not contain

    allegations that Defendants should have warned the FDA. Plaintiffs’ failure-to-warn counts

    contain allegations relating only to warnings on the labeling of ranitidine products and warnings

    to consumers through other mediums. See, e.g., MPIC ¶¶ 454-71, 501-16. Should Plaintiffs choose

    to plead claims for failure to warn the FDA upon repleading, they should do so consistent with the

    pleading issues that the Court addresses in Section VII.C.2.c. of this Order.

       5. Manufacturing Defect

           a. Arguments and Allegations

           Defendants argue that Plaintiffs’ manufacturing-defect counts must be dismissed because

    “this is not a case where particular batches of ranitidine made by certain defendants may have

    contained NDMA due to some error in the manufacturing process that caused those batches to

    depart from the intended design.” DE 1582 at 9, 32. Plaintiffs’ allegations are that “an inherent

    flaw in the design of the ranitidine molecule itself created conditions ripe for NDMA formation in

    every unit of ranitidine made by every branded manufacturer and every generic manufacturer.”

    Id. at 9-10, 32. Plaintiffs’ manufacturing-defect claims are actually design-defect claims and are

    pre-empted. Id. at 30-32. Further, any manufacturing changes that Plaintiffs propose in the Master

    Complaints are “major changes” that Defendants could not have made independently without FDA

    pre-approval, such that claims based on those changes are pre-empted. Id. at 33-35.

           Plaintiffs do not dispute that a claim would be pre-empted if it were based on an assertion

    that the drug manufacturer should have made a manufacturing change that could not be made



                                                    44
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 45 of 54




    independently without FDA pre-approval. Plaintiffs maintain, however, that a drug can be both

    defectively designed and defectively manufactured and that the manufacturing-defect claims they

    have pled cannot be deemed pre-empted without discovery and further factual development.

    DE 2010-1 at 37-38.

            Plaintiffs allege in the MPIC that ranitidine products “were expected to and did reach

    Plaintiffs without a substantial change in their anticipated or expected design” “[a]t all relevant

    times.” MPIC ¶¶ 462, 477, 492. Plaintiffs, in fact, include this allegation within their count in the

    MPIC for strict liability manufacturing defect. Id. ¶ 492. Plaintiffs further allege that ranitidine

    products were “defective with respect to their manufacture” due to failures to follow Current Good

    Manufacturing Practices and to “implement procedures that would reduce or eliminate NDMA

    levels in ranitidine-containing products.” 9 Id. ¶¶ 494, 496(a), (d), 536(a), (c). Plaintiffs make

    similar allegations in the CCCAC. The CTPPCC does not contain a manufacturing-defect count.

    Repackager Defendants are not named under the manufacturing-defect counts in the MPIC but are

    named under the manufacturing-defect counts in the CCCAC.

            b. Law on Manufacturing Defects

            A product contains a manufacturing defect “when the product departs from its intended

    design.” Restatement (Third) of Torts: Products Liability § 2(a) (Am. L. Inst. 1998). As to the

    production of drug products, a “major manufacturing change” is a manufacturing change that has

    “substantial potential to adversely affect the identity, strength, quality, purity, or potency of the

    drug as they may relate to the safety or effectiveness of a drug.” 21 U.S.C. § 356a(c)(2); see also

    21 C.F.R. § 314.70(b)(1). This includes a change “in the qualitative or quantitative formulation”

    of the drug product or a change in the “manufacture of the drug substance that may affect the


    9
     The manufacturing-defect counts also contain allegations about testing, expiration dates, and storage conditions.
    Those issues are separately addressed above.

                                                           45
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 46 of 54




    impurity profile and/or the physical, chemical, or biological properties of the drug substance.”

    21 U.S.C. § 356a(c)(2)(A); 21 C.F.R. § 314.70(b)(2)(i), (iv). A drug product that is made with a

    major manufacturing change may be distributed only upon the submission of a Prior Approval

    Supplement to the FDA and FDA approval. 21 U.S.C. § 356a(c)(1); see also 21 C.F.R.

    § 314.70(b).

           c. Analysis and Conclusion

           Plaintiffs have not pled a plausible manufacturing-defect claim. See Twombly, 550 U.S. at

    555, 570 (requiring a complaint to provide sufficient factual allegations to “state a claim to relief

    that is plausible on its face” and to “raise a right to relief above the speculative level”). Not only

    do Plaintiffs allege within a manufacturing-defect count itself that ranitidine products reached

    consumers without a substantial change to their design, but Plaintiffs also fail to plead any specific

    facts such as the identification of how any particular batch of ranitidine products departed from

    their intended design or of any particular manufacturing processes or procedures that should have

    been but were not followed. See Iqbal, 556 U.S. at 678 (stating that a complaint must offer more

    than labels, conclusory statements, and naked assertions devoid of factual enhancement to plead a

    claim upon which relief can be granted). The Court is unprepared to conclude, as Defendants

    maintain, that Plaintiffs are wholly unable to plausibly plead a manufacturing-defect claim. See

    DE 1582 at 30. And in this posture of the pleadings, the Court is unable to evaluate Defendants’

    contention that the manufacturing-defect claims are pre-empted. Plaintiffs’ manufacturing-defect

    counts against Generic Manufacturer Defendants are dismissed without prejudice and with leave

    to amend.

           Plaintiffs do not separately address the manufacturing-defect counts against Repackager

    Defendants in the CCCAC.         Repackager Defendants are not alleged to have manufactured



                                                     46
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 47 of 54




    ranitidine products.10 See CCCAC ¶ 416 (defining Repackager Defendants as entities that

    repackaged ranitidine products into different containers and changed “the content on an original

    manufacturer’s label to note the drug [was] distributed or sold under the relabeler’s own name,”

    “without manipulating, changing, or affecting the composition or formulation of the drug”). To

    the extent that Plaintiffs seek to hold Repackager Defendants liable for any manufacturing defects

    under an absolute-liability theory, absolute liability is addressed briefly in Section VII.C.7. of this

    Order and more expansively in the Order Granting Retailer and Pharmacy Defendants’ Rule 12

    Motion to Dismiss on the Ground of Preemption, Granting Distributor Defendants’ Rule 12

    Motion to Dismiss on the Ground of Preemption, Denying as Moot Retailer and Pharmacy

    Defendants’ Rule 12 Motion to Dismiss on State Law Grounds, and Denying as Moot Distributor

    Defendants’ Rule 12 Motion to Dismiss on Various Group-Specific Grounds. For the reasons

    given in that Order, Plaintiffs’ manufacturing-defect counts against Repackager Defendants are

    dismissed with prejudice.

         6. MMWA Claims

            a. Arguments and Allegations

            Defendants assert that the counts for violation of the MMWA in the CCCAC and CTPPCC

    must be dismissed because those counts require a valid state-law warranty claim to serve as an

    “anchor,” and none of Plaintiffs’ state-law warranty claims are valid because they are pre-empted.

    DE 1582 at 10, 39. In addition, the MMWA does not apply to FDA-regulated product labeling.

    Id. at 10, 39-40.

            Plaintiffs do not dispute that their claims under the MMWA require a valid state-law

    warranty claim. See DE 2499 at 63-64 (argument of Plaintiffs that they have valid


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      The Court notes again, however, that some of the parties categorized as Generic Manufacturer Defendants are also
    categorized as Repackager Defendants. See, e.g., CCCAC ¶¶ 280, 288.

                                                           47
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 48 of 54




    express-warranty and implied-warranty claims to serve as a MMWA “anchor”). Plaintiffs argue,

    however, that their state-law warranty claims are valid because they are not pre-empted. DE 2010-1

    at 40. If the Court concludes at this stage that the MMWA does not apply to written warranties

    arising from FDA-regulated product labeling, Plaintiffs still can pursue their claims for breach of

    implied warranties under the MMWA. Id. at 40-41.

           Plaintiffs allege in their MMWA counts that Defendants expressly warranted that ranitidine

    products “were safe for human consumption and fit to be used for their intended purpose” and that

    Defendants impliedly warranted that the products “were of merchantable quality and safe and fit

    for their intended use.” See, e.g., CCCAC ¶¶ 810, 814; CTPPCC ¶¶ 595, 599. Defendants breached

    these warranties because ranitidine products were dangerous in that they contained cancer-causing

    levels of NDMA. See, e.g., CCCAC ¶¶ 811, 813, 817; CTPPCC ¶¶ 596, 598, 602.

           b. The MMWA

           The MMWA provides a private cause of action for “a consumer who is damaged by the

    failure of a supplier, warrantor, or service contractor to comply with any obligation . . . under a

    written warranty, implied warranty, or service contract.” 15 U.S.C. § 2310(d)(1). A “supplier” is

    “any person engaged in the business of making a consumer product directly or indirectly available

    to consumers,” and a “warrantor” is “any supplier or other person who gives or offers to give a

    written warranty or who is or may be obligated under an implied warranty.” Id. § 2301(4), (5).

    The MMWA defines the phrase “written warranty” as

           (A) any written affirmation of fact or written promise made in connection with the
           sale of a consumer product by a supplier to a buyer which relates to the nature of
           the material or workmanship and affirms or promises that such material or
           workmanship is defect free or will meet a specified level of performance over a
           specified period of time, or

           (B) any undertaking in writing in connection with the sale by a supplier of a
           consumer product to refund, repair, replace, or take other remedial action with

                                                    48
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 49 of 54




           respect to such product in the event that such product fails to meet the specifications
           set forth in the undertaking,

           which written affirmation, promise, or undertaking becomes part of the basis of the
           bargain between a supplier and a buyer for purposes other than resale of such
           product.

    Id. § 2301(6). The phrase “implied warranty” means “an implied warranty arising under State law

    . . . in connection with the sale by a supplier of a consumer product.” Id. § 2301(7); see Barabino

    v. Dan Gamel, Inc., No. 2:04-cv-2359-MCE-PAN, 2006 WL 2083257, at *4 (E.D. Cal. July 25,

    2006) (explaining that “courts must look to the relevant state law to determine the meaning and

    creation of any implied warranty” when applying the MMWA).

           A plaintiff’s claim under the MMWA is viable only if the plaintiff also has stated a valid

    breach-of-warranty claim under state law. See Cardenas v. Toyota Motor Corp., 418 F. Supp. 3d

    1090, 1110-11 (S.D. Fla. 2019) (explaining that, “[t]o state a claim under the Magnuson-Moss

    Warranty Act, . . . a plaintiff must also state a valid breach of warranty claim”); Melton v. Century

    Arms, Inc., 243 F. Supp. 3d 1290, 1304 (S.D. Fla. 2017) (explaining that “a Magnuson-Moss

    Warranty Act claim only exists if a valid breach of warranty claim is also stated”).

           The MMWA is “inapplicable to any written warranty the making or content of which is

    otherwise governed by Federal law.” 15 U.S.C. § 2311(d). “If only a portion of a written warranty

    is so governed by Federal law, the remaining potion shall be subject to” the MMWA. Id. Applying

    § 2311(d), federal courts have held that the MMWA is inapplicable to both express-warranty and

    implied-warranty claims for products with FDA-regulated labeling. See, e.g., Hernandez v.

    Johnson & Johnson Consumer Inc., No. 3:19-cv-15679-BRM-TJB, 2020 WL 2537633, at *5

    (D.N.J. May 19, 2020) (concluding that the MMWA “is inapplicable to any alleged express or

    implied warranty claims on the labeling of” pain relievers); Dopico v. IMS Trading Corp.,

    No. 3:14-cv-1874-BRM-DEA, 2018 WL 4489677, at *6 (D.N.J. Sept. 18, 2018) (concluding that

                                                     49
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 50 of 54




    the MMWA “is inapplicable to any alleged express or implied warranty claims on the labeling of”

    FDA-regulated dog treats); Jasper v. MusclePharm Corp., No. 14-cv-02881-CMA-MJW, 2015

    WL 2375945, at *1, 5-6 (D. Colo. May 15, 2015) (adopting a Report and Recommendation to

    dismiss a MMWA claim under § 2311(d) where the plaintiff had brought express-warranty and

    implied-warranty claims related to weight-loss supplements and citing multiple cases as reaching

    the conclusion that “the label of the product at issue is ‘governed’ under the FDCA, and therefore

    the Magnuson-Moss Warranty Act is ‘inapplicable’”). 11

             c. Analysis and Conclusion

             As discussed in Section VII.C.1.e. of this Order, the Court is dismissing all counts against

    Defendants, including the counts for breach of express and implied warranties. The Court

    therefore dismisses the MMWA counts, as a MMWA claim requires a valid breach-of-warranty

    claim. See Cardenas, 418 F. Supp. 3d at 1110-11; Melton, 243 F. Supp. 3d at 1304.

             Should Plaintiffs replead any express-warranty or implied-warranty claims and replead

    MMWA claims, the MMWA is inapplicable to warranty claims based on language on drug

    labeling that the FDA governs and that falls within the definition of “written warranty.”

    See 15 U.S.C. § 2311(d) (providing that the MMWA is “inapplicable to any written warranty the

    making or content of which is otherwise governed by Federal law”). To the extent that Plaintiffs

    maintain that they can pursue written warranty claims under the MMWA based on any language

    that the FDA does not govern, they have failed to plead a plausible claim under the MMWA



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      Plaintiffs cite a single case to support their argument that they can pursue claims for breach of implied warranties
    under the MMWA. See DE 2010-1 at 41. That case, Forcellati v. Hyland’s Inc., concluded that the plaintiffs had not
    identified language on the labeling of homeopathic remedies that fell within the definition of “written warranty” under
    the MMWA, but that the plaintiffs were entitled to a trial on their claim of breach of implied warranty under the
    MMWA. No. CV 12-1983-GHK, 2015 WL 9685557, at *6 (C.D. Cal. Jan. 12, 2015). Forcellati is distinguishable
    because the FDA does not approve the labeling for homeopathic remedies. Plaintiffs have not cited any authority to
    support a departure from caselaw specific to the drug context that has held that the MMWA is inapplicable to both
    express-warranty and implied-warranty claims. See Hernandez, 2020 WL 2537633, at *5.

                                                             50
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 51 of 54




    because they have not specified the relevant language that they assert meets the MMWA’s

    definition of “written warranty.” See id. (explaining that, “[i]f only a portion of a written warranty

    is so governed by Federal law, the remaining portion shall be subject to this chapter”); see also id.

    § 2301(6) (defining the phrase “written warranty”); Viggiano v. Hansen Nat. Corp., 944 F. Supp.

    2d 877, 898 (C.D. Cal. 2013) (dismissing a MMWA claim because the challenged language on

    product labeling did not create a written warranty within the definition in the MMWA). To the

    extent that Plaintiffs still maintain that they can pursue implied-warranty claims under the

    MMWA, they should be prepared to explain whether their implied-warranty claims arise from

    anything other than the drug labeling. The MMWA count in the CCCAC, Count 3, against

    Defendants and the MMWA count in the CTPPCC, Count 4, against Generic Manufacturer

    Defendants are dismissed without prejudice and with leave to amend.

       7. Absolute Liability

           In their Opposition to the Motion to Dismiss, Plaintiffs “incorporate by reference the

    Retailer, Pharmacy, and Distributor opposition, which refutes the Repackager Defendants’

    arguments.” DE 2010-1 at 41. By that statement, the Court presumes that Plaintiffs mean to

    incorporate their arguments about absolute liability in their Opposition to Distributor, Retailer, and

    Pharmacy Defendants’ Rule 12 Motions to Dismiss on Preemption Grounds. See DE 1977 at

    12-17. Defendants reply that Plaintiffs have failed to show that any state has adopted an absolute

    liability framework for repackagers. DE 2133 at 7-8, 22. Defendants further argue that, if a state

    were to adopt such a framework, the state’s law would directly conflict with federal law. Id. at 22.

           The Court’s discussion and analysis of absolute liability is included within the Order

    Granting Retailer and Pharmacy Defendants’ Rule 12 Motion to Dismiss on the Ground of

    Preemption, Granting Distributor Defendants’ Rule 12 Motion to Dismiss on the Ground of



                                                     51
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 52 of 54




    Preemption, Denying as Moot Retailer and Pharmacy Defendants’ Rule 12 Motion to Dismiss on

    State Law Grounds, and Denying as Moot Distributor Defendants’ Rule 12 Motion to Dismiss on

    Various Group-Specific Grounds. For the reasons given in that Order, any claims against

    Repackager Defendants that rely on absolute liability are dismissed with prejudice.

       8. Derivative Counts

           Counts XIII, XIV, and XV of the MPIC are claims for loss of consortium, damages to be

    paid to the estates of deceased ranitidine-product consumers, and wrongful death. MPIC

    ¶¶ 637-56. Defendants refer to these three counts as “derivative” claims and argue that these

    claims must be dismissed if all of the other claims against them are dismissed. DE 1582 at 37-38.

    Plaintiffs do not dispute that the derivative claims must be dismissed if no other claims remain

    against Defendants, but Plaintiffs assert again that they can proceed with all of their claims against

    Defendants. DE 2010-1 at 39; see In re Darvocet, 756 F.3d at 936 (affirming a district court’s

    dismissal of “derivative claims for wrongful death, survivorship, unjust enrichment, loss of

    consortium, and punitive damages” when the district court had dismissed all “underlying claims”

    because the derivative claims “stand or fall with the underlying claims on which they rest”).

    Because the Court is dismissing all underlying claims against Defendants for the reasons given

    herein, the derivative claims raised against Defendants in Counts XIII, XIV, and XV of the MPIC

    are dismissed without prejudice.

       9. Express Pre-emption Under 21 U.S.C. § 379r

           Defendants’ Motion to Dismiss incorporates by reference the arguments about express

    pre-emption that Brand-Name Manufacturer Defendants make in their motion to dismiss based on

    pre-emption. DE 1582 at 38-39; see DE 1580.              In that motion to dismiss, Brand-Name

    Manufacturer Defendants contend that 21 U.S.C. § 379r prohibits Plaintiffs from obtaining



                                                     52
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 53 of 54




    damages in the form of refunds for the purchase of OTC ranitidine products. DE 1580 at 7, 14-22;

    see 21 U.S.C. § 379r(a) (providing that “no State or political subdivision of a State may establish

    or continue in effect any requirement . . . that is different or in addition to, or that is otherwise not

    identical with, a requirement under this chapter”). The Court will address § 379r in a forthcoming

    Order on Branded Defendants’ Rule 12 Partial Motion to Dismiss Plaintiffs’ Three Complaints as

    Preempted by Federal Law.

                                             VIII. Conclusion

            For the foregoing reasons, it is ORDERED AND ADJUDGED that Defendant Generic

    Manufacturers’ and Repackagers’ Rule 12 Motion to Dismiss on the Ground of Preemption

    [DE 1582] is GRANTED.

            1.      Plaintiffs’ claims based on alleged product and labeling defects that Defendants

    could not independently change while remaining in compliance with federal law are DISMISSED

    WITH PREJUDICE consistent with this Order.                Because all of Plaintiffs’ counts against

    Defendants in the Master Complaints incorporate such allegations, all counts against Defendants

    are DISMISSED.

            2.      Plaintiffs’ claims against Repackager Defendants that rely on absolute liability are

    DISMISSED WITH PREJUDICE consistent with this Order.

            3.      Plaintiffs are granted leave to replead claims against Defendants based on

    expiration dates, testing, storage and transportation conditions, warning the FDA, manufacturing

    defects, and the MMWA, as well as to replead their derivative counts, consistent with this Order.

            4.      Under Pretrial Order # 36, Plaintiffs’ repled Master Complaints are due 30 days

    after the Court issues its Order on Article III standing. DE 1346 at 4. The Court AMENDS that

    requirement in Pretrial Order # 36. Plaintiffs’ repled Master Complaints are due 30 days after the



                                                       53
Case 9:20-md-02924-RLR Document 2512 Entered on FLSD Docket 12/31/2020 Page 54 of 54




    Court issues its forthcoming Order on Branded Defendants’ Rule 12 Partial Motion to Dismiss

    Plaintiffs’ Three Complaints as Preempted by Federal Law. DE 1580. All other requirements in

    Pretrial Order # 36 remain in place.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 31st day of

    December, 2020.



                                                     ROBIN L. ROSENBERG
                                                     UNITED STATES DISTRICT JUDGE




                                                54
